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     1               UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
     2
            THE CITY OF HUNTINGTON,             )
     3                                          )
                   Plaintiff,                   )
     4                                          )
            vs.                                 )
     5                                          )    Civil Action
            AMERISOURCEBERGEN DRUG              )    No. 3:17-01362
     6      CORPORATION, et al.,                )
                                                )    Hon. David A. Faber
     7           Defendants.                    )
            _____________________               )
     8                                          )
            CABELL COUNTY COMMISSION,           )
     9                                          )
                   Plaintiff,                   )
    10                                          )    Civil Action
            vs.                                 )    No. 3:17-01665
    11                                          )
            AMERISOURCEBERGEN DRUG              )    Hon. David A. Faber
    12      CORPORATION, et al.,                )
                                                )
    13             Defendants.                  )
    14
                       MONDAY, SEPTEMBER 14, 2020
    15
             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    16                CONFIDENTIALITY REVIEW
    17                         – – –
    18               Remote videotaped deposition of
           Tricia Wright, M.D., held at the location of
    19     the witness in San Francisco, California,
           commencing at 8:06 a.m. Pacific Time, on the
    20     above date, before Carrie A. Campbell,
           Registered Diplomate Reporter and Certified
    21     Realtime Reporter.
    22
                                    – – –
    23
                      GOLKOW LITIGATION SERVICES
    24            877.370.3377 ph | 917.591.5672 fax
                            deps@golkow.com
    25

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    15
    16
           VIDEOGRAPHER:
    17           CHRIS RITONA,
                 Golkow Litigation Services
    18
    19
                                      – – –
    20
    21
    22
    23
    24
    25

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     1                      VIDEOGRAPHER:       We are now on
     2             the record.
     3                      My name is Chris Ritona.           I am
     4             the videographer with Golkow
     5             Litigation Services.
     6                      Today's date is September 14,
     7             2020, and the time is approximately
     8             11:06 a.m.
     9                      This remote video deposition is
    10             being held in the matter of the City
    11             of Huntington, et al., versus
    12             AmerisourceBergen Drug Corporation, et
    13             al., for the United States District
    14             Court for the Southern District of
    15             West Virginia.
    16                      The deponent today is
    17             Dr. Tricia Wright.
    18                      All parties to this deposition
    19             are appearing remotely and have agreed
    20             to the witness being sworn in
    21             remotely.
    22                      Due to the nature of remote
    23             reporting, please pause briefly before
    24             speaking to ensure all parties are
    25             heard completely.

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     1                      Will counsel please identify
     2             themselves for the record.
     3                      MR. PENDELL:       This is Mike
     4             Pendell tell from Motley Rice for the
     5             plaintiffs in this lawsuit.
     6                      MS. FUJIMOTO:       Michelle
     7             Fujimoto on behalf of McKesson
     8             Corporation and on behalf of
     9             Dr. Wright.
    10                      MR. HURST:      John Hurst on
    11             behalf of plaintiffs.          Motley Rice.
    12                      VIDEOGRAPHER:       Okay.     The court
    13             reporter today is Carrie Campbell, and
    14             she will now please swear in the
    15             witness.
    16

    17                      TRICIA WRIGHT, M.D.,
    18     of lawful age, having been first duly sworn
    19     to tell the truth, the whole truth and
    20     nothing but the truth, deposes and says on
    21     behalf of the Plaintiffs, as follows:
    22

    23                      DIRECT EXAMINATION
    24     QUESTIONS BY MR. PENDELL:
    25             Q.       Good morning, Doctor.

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     1                      How are you?
     2             A.       Good.     How are you?
     3             Q.       Good.     Welcome to this very
     4     weird situation where we're doing this via
     5     Zoom.    But I'll tell you at the outset, I
     6     appreciate your time today.            Okay?
     7             A.       Okay.
     8             Q.       Could you just tell me your
     9     full name and your address?
    10             A.       Tricia Elaine Wright.          My home
    11     address?
    12             Q.       Oh, sure.
    13             A.       Yes.    629 Miramar Avenue, San
    14     Francisco.
    15             Q.       You understand, Doctor, that
    16     you're under oath today, correct?
    17             A.       I do.
    18             Q.       Okay.     And you're prepared to
    19     testify fully and truthfully, regardless of
    20     whether or not your testimony hurts the
    21     position taken by any defendant in this case,
    22     correct?
    23             A.       Correct.
    24             Q.       Who are the defendants in this
    25     case?

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     1             A.       My understanding, it is --
     2     well, I am representing McKesson Corporation,
     3     and then there is a few other drug
     4     distributors.
     5             Q.       Okay.     And so you sort -- you
     6     of anticipated my next question, which was,
     7     you understand who it is that you are
     8     providing the expert testimony on behalf of?
     9                      Is it just McKesson, or is it
    10     your understanding that your report is also
    11     being provided on behalf of other defendants?
    12                      MS. FUJIMOTO:       Object.      Form.
    13                      THE WITNESS:       I -- I was hired
    14             by McKesson, and then I understood
    15             that it was being used in this global
    16             matter.
    17     QUESTIONS BY MR. PENDELL:
    18             Q.       Okay.     And aside from McKesson,
    19     do you know who any of the other defendants
    20     are in this particular matter?
    21             A.       I do not.
    22             Q.       I had asked Ms. Fujimoto prior
    23     to make sure that you had with you your
    24     expert report and your CV.           And we're not
    25     going to talk about those right now.

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     1                      But aside from your expert
     2     report and CV, do you have any other
     3     documents there with you in front of you for
     4     the purposes of this deposition?
     5             A.       Not for the purposes of this
     6     deposition, no.
     7             Q.       Did you bring any notes with
     8     you to the deposition?
     9             A.       I did not.
    10             Q.       Am I correct that you did some
    11     things to prepare for the deposition today?
    12             A.       Yes, I did.
    13             Q.       Tell me everything you did to
    14     prepare for the deposition today.
    15                      MS. FUJIMOTO:       Object.      Form.
    16                      THE WITNESS:       I reviewed my
    17             expert testimony, looked over my CV.
    18             I talked with counsel, and we went
    19             over some possible questions, and I
    20             looked through some of the past
    21             research.
    22     QUESTIONS BY MR. PENDELL:
    23             Q.       And when you say "some of the
    24     past research," do you mean some of the
    25     research that you conducted in doing your

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      1    report?
      2            A.        Yes.
      3            Q.        Okay.    So your reliance
      4    materials?
      5            A.        I'm sorry, I'm not
      6    understanding the --
      7            Q.        I'm sorry.      So what you looked
      8    at was reliance materials that were listed at
      9    the end of your report?
     10            A.        I did not look through them
     11    completely, but I did look at the titles and
     12    read through the report completely.
     13            Q.        Understood.
     14                      I just wanted to make sure
     15    there was not something other than what was
     16    disclosed with your report that you looked
     17    at.
     18            A.        No.
     19            Q.        Okay.    Aside from counsel --
     20    and we'll get into your meetings with counsel
     21    in a minute -- was there somebody else you
     22    spoke with to prepare for this deposition?
     23            A.        No.
     24            Q.        Okay.    Is there anybody you
     25    feel that you should have spoken to in order

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      1    to prepare for this deposition?
      2            A.        No, I don't think so.
      3            Q.        That's one of my favorite
      4    questions.
      5                      You mentioned that you had met
      6    with counsel to prepare for the deposition.
      7                      Specifically which lawyers did
      8    you meet with to prepare?
      9            A.        I met with Michelle Fujimoto
     10    and with -- I am blanking on their name.
     11    There was two other ones.
     12                      Michelle, can you -- oh, I
     13    can't talk to you.
     14                      Yeah, one from McKesson
     15    themselves, and I'm blanking on her name.
     16            Q.        And was that -- was it your
     17    understanding that the one from McKesson was
     18    an in-house attorney for McKesson?
     19                      MS. FUJIMOTO:       Object to form.
     20            Don't speculate.
     21                      THE WITNESS:       It is -- that is
     22            my understanding, yes.
     23    QUESTIONS BY MR. PENDELL:
     24            Q.        Okay.    But as far as you --
     25    your understanding is all the folks you met

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      1    with were attorneys, correct?
      2            A.        Correct.
      3            Q.        How many times did you meet
      4    with lawyers to prepare for your deposition
      5    today?
      6            A.        For this deposition today, I
      7    met with lawyers twice.
      8            Q.        Okay.    And so let me ask you
      9    first about the very first meeting you had to
     10    prepare for this deposition.
     11                      When was that?
     12            A.        That was shortly after the
     13    Loudin report, in my recollection.
     14            Q.        Okay.    And how long was that
     15    meeting?
     16            A.        I would have to look at my
     17    notes.     I don't recall off the top of my
     18    head.     I think it was about an hour and a
     19    half.
     20            Q.        Okay.    So we can say
     21    approximately an hour and a half, give or
     22    take a little bit of time?
     23            A.        Yeah, that sounds about right.
     24            Q.        Okay.    And how about the second
     25    meeting; when was that?

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      1            A.        I met just briefly with
      2    Ms. Fujimoto last night on a telephone call.
      3            Q.        Okay.    And how long was that
      4    discussion?
      5            A.        Probably -- I'd have to again
      6    look at my notes, but probably about 15, 20
      7    minutes.
      8            Q.        And I assume that -- well, let
      9    me not just assume anything.
     10                      That first meeting that you
     11    had, was that remotely like we're doing now?
     12            A.        Yes.
     13            Q.        And then I believe you said you
     14    spoke with Ms. Fujimoto via telephone; is
     15    that correct?
     16            A.        Correct.
     17            Q.        Did you -- strike that.
     18                      Did you read the complaint in
     19    this case?
     20            A.        Did I read the complaint?
     21            Q.        Yes.
     22            A.        I did not read the complaint in
     23    this case.
     24            Q.        Okay.    What is your
     25    understanding as to what the plaintiffs in

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      1    this case -- and I'm going to say "the
      2    plaintiffs."       And when I say "the
      3    plaintiffs," I'm referring to both
      4    Huntington, West Virginia, and Cabell County,
      5    West Virginia, okay?
      6                      And if for some reason you need
      7    me to be more specific about which plaintiff
      8    I'm talking about, I don't think that'll be
      9    necessary, but let me know and I'll do that.
     10                      Okay?
     11                      What is your --
     12            A.        Oh, go ahead.
     13            Q.        So my question was going to be,
     14    what is your understanding as to what the
     15    plaintiffs in this case allege that McKesson,
     16    Cardinal and AmerisourceBergen did wrong?
     17            A.        My understanding is that the --
     18    the complaint is that there was some red
     19    flags of excess drugs being sent to these
     20    counties that should have been picked up on
     21    and, you know, leading to an excess of these
     22    medications in this county.
     23            Q.        Did you ask anyone at McKesson
     24    if the allegations were true?
     25            A.        I did not.

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      1            Q.        How about at Cardinal Health?
      2    Did you ask anyone at Cardinal Health if the
      3    allegations were true?
      4            A.        I've never talked to anybody at
      5    Cardinal Health.
      6            Q.        And I assume you've never
      7    talked to anyone at AmerisourceBergen,
      8    correct?
      9            A.        Correct.
     10            Q.        Okay.    Would it matter to you
     11    if the allegations are proved to be true?
     12            A.        It would not matter to me
     13    because I don't think those are the issues
     14    that my testimony is speaking to.
     15            Q.        Would it matter to you
     16    personally?
     17                      MS. FUJIMOTO:       Objection.
     18                      THE WITNESS:       It would not
     19            matter to me personally because --
     20    QUESTIONS BY MR. PENDELL:
     21            Q.        Why not?
     22            A.        Because this -- that is not the
     23    issues that I am speaking to with this
     24    deposition and my report.
     25            Q.        What subject areas do you

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      1    consider yourself to be an expert in?
      2            A.        I am an expert in the care of
      3    pregnant women with substance use disorders.
      4    I am board certified in both obstetrics and
      5    gynecology, and I am a -- board certified in
      6    addiction medicine, both by the American
      7    Academy -- or American Society of Addiction
      8    Medicine -- or the American Board of
      9    Addiction Medicine, sorry, and the American
     10    Board of Preventive Medicine.
     11                      I've been taking care of
     12    pregnant women with substance use disorders
     13    for over 13 years, and I have published
     14    widely on the subjects of substance use
     15    disorders in pregnancy, including opiate use
     16    disorders.
     17            Q.        And anything else aside from
     18    those areas?
     19                      MS. FUJIMOTO:       Object to form.
     20                      THE WITNESS:       Well, I'm a
     21            general -- obstetrician/gynecologist,
     22            so I take care of women throughout
     23            their reproductive lives.
     24    QUESTIONS BY MR. PENDELL:
     25            Q.        Prior to this case, had you

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      1    ever provided professional services to
      2    McKesson?
      3            A.        Prior to this case, I was
      4    retained for the purposes of the NAS lawsuit
      5    from McKesson.
      6            Q.        Okay.    So I was going to get
      7    into this in a second.
      8                      Let's set aside the opioid
      9    litigation for a moment.            So setting aside
     10    opioid litigation, have you ever been engaged
     11    by McKesson to provide any type of
     12    professional consulting services?
     13            A.        I have not.
     14            Q.        And I'm going to ask you
     15    anyway, although I think I know the answer to
     16    this.     How about Cardinal Health?
     17            A.        No.
     18            Q.        How about AmerisourceBergen?
     19            A.        No.
     20            Q.        It's my understanding from the
     21    cases that I'm involved in that you've been
     22    disclosed as an expert in this case for
     23    McKesson and also in the State of Washington
     24    opioid case.
     25                      Is that correct?        Is that your

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      1    understanding as well?
      2            A.        Yes.
      3            Q.        Okay.    Are there any other
      4    cases that you know of that you've been
      5    disclosed as an expert witness on behalf of
      6    McKesson?
      7            A.        Not that I know of, no.
      8            Q.        Okay.    When were you first
      9    contacted about being an expert in this case?
     10            A.        In this case, it was either the
     11    end of July or the beginning of August.                 I
     12    would have to look at my notes.
     13            Q.        And that would be of 2020?
     14            A.        Correct.
     15            Q.        So I'm sorry, you said July or
     16    August of 2020 you were contacted about being
     17    an expert.
     18                      How soon after you were
     19    contacted were you actually retained?
     20            A.        I --
     21                      MS. FUJIMOTO:       I'm sorry, Mike,
     22            but you're talking about -- because
     23            I -- when we were off camera, you were
     24            talking about this case?            The West
     25            Virginia?

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      1                      MR. PENDELL:       Correct.
      2                      MS. FUJIMOTO:       Okay.
      3                      MR. PENDELL:       And correct me if
      4            I'm wrong, her testimony was that she
      5            was first contacted for this case in
      6            July or August of 2020.
      7    QUESTIONS BY MR. PENDELL:
      8            Q.        So now my next question is, how
      9    soon after you were contacted were you
     10    actually retained?
     11            A.        Soon --
     12                      MS. FUJIMOTO:       In this case,
     13            not the opioid litigation generally?
     14                      MR. PENDELL:       In this case.
     15                      MS. FUJIMOTO:       All right.
     16            Thank you.
     17                      MR. PENDELL:       Sure.
     18                      THE WITNESS:       Yes, soon after
     19            that.     I don't know exactly when.
     20    QUESTIONS BY MR. PENDELL:
     21            Q.        Okay.    Were you provided with
     22    any material to review before you were
     23    actually retained in this case?
     24            A.        I was sent the Loudin report,
     25    and I believe -- I'm not sure if it was

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      1    before or after I was retained, but I believe
      2    it was after.
      3            Q.        Okay.    Did you do any
      4    independent research prior to agreeing to be
      5    an expert witness in this case?
      6            A.        I did not, other than just
      7    knowing what I knew from before.
      8            Q.        Did you do any independent
      9    research about McKesson or the other
     10    defendants prior to your being retained in
     11    this case?
     12            A.        In this case, no, because I had
     13    done -- I looked at -- into it before.
     14            Q.        Okay.    So you had previously
     15    done some of your own research on McKesson
     16    prior to agreeing to be an expert witness on
     17    its behalf?
     18            A.        I am generally aware of what
     19    they do and what -- you know, I've been in --
     20    you know, involved in ordering all sorts of
     21    supplies from them.
     22            Q.        Okay.    So prior to your
     23    engagement in the opioid litigation, so this
     24    case or the Washington case, did you know
     25    that in May of 2008, McKesson paid a

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      1    $13 million penalty related to its
      2    distribution of controlled substances?
      3                      MS. FUJIMOTO:       Object to form.
      4                      THE WITNESS:       Yes, I was aware
      5            that there was a previous settlement.
      6    QUESTIONS BY MR. PENDELL:
      7            Q.        Prior to your engagement in
      8    this case, did you know that in September
      9    of 2008, Cardinal Health agreed to pay a
     10    $34 million penalty and entered into a
     11    settlement agreement with the DEA for failing
     12    to maintain effective controls against
     13    diversion?
     14                      Did you know that?
     15                      MS. FUJIMOTO:       Object to form.
     16                      THE WITNESS:       I was aware that
     17            there were some settlements made.               I
     18            was not aware of the specifics of the
     19            other firms that I was not engaged or
     20            hired by.
     21    QUESTIONS BY MR. PENDELL:
     22            Q.        Prior to your engagement in
     23    this case, did you know that in December
     24    of 2016, Cardinal Health agreed to pay a
     25    $44 million penalty to resolve allegations

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      1    that it failed to report suspicious orders
      2    and meet its obligations under the CSA in
      3    Florida, Maryland, New York and Washington?
      4                      MS. FUJIMOTO:       Object to form.
      5                      THE WITNESS:       Again, I did
      6            not -- I -- it does not have any
      7            relevance to my appearance in this
      8            case.     And my opinions.
      9    QUESTIONS BY MR. PENDELL:
     10            Q.        And finally, prior to your
     11    engagement in this case, did you know that in
     12    January of 2017, McKesson agreed to paid
     13    $150 million penalty for failing to identify
     14    and report suspicious orders at its
     15    facilities in Colorado, Illinois, New Jersey,
     16    Wisconsin, Florida, Maryland, Nebraska,
     17    Michigan, Massachusetts, California, Ohio?
     18    Did you know that?
     19                      MS. FUJIMOTO:       Object.      Form.
     20                      THE WITNESS:       Again, it has no
     21            relevance in my testimony in this case
     22            or my opinion.
     23    QUESTIONS BY MR. PENDELL:
     24            Q.        Okay.    My question is a little
     25    bit different.        I'm just wondering whether

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      1    you knew that.
      2                      MS. FUJIMOTO:       Same objection.
      3                      THE WITNESS:       Again, it has no
      4            relevance on the bearing on my opinion
      5            in this case.
      6    QUESTIONS BY MR. PENDELL:
      7            Q.        Okay.    So is that a no, you did
      8    not know that?
      9            A.        I was aware of some
     10    settlements, yes.
     11            Q.        Okay.    Were you aware of that
     12    particular settlement for $150 million in
     13    2017?
     14                      MS. FUJIMOTO:       Object.      Form.
     15                      THE WITNESS:       Again, I was
     16            aware of some settlements.            I'm not
     17            sure of the specifics of which ones
     18            have been done and...
     19    QUESTIONS BY MR. PENDELL:
     20            Q.        Who first contacted you about
     21    being an expert witness for McKesson?
     22            A.        Michelle Fujimoto.
     23            Q.        And did you know Ms. Fujimoto
     24    previously?
     25            A.        I did not.

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      1            Q.        Had you had any dealings with
      2    anyone at McKesson in a professional capacity
      3    prior to your engagement in the opioid
      4    litigation?
      5            A.        No, I have not.
      6            Q.        Okay.    So you didn't know
      7    anyone at McKesson at all?
      8            A.        No.
      9            Q.        Not even a sales
     10    representative?
     11            A.        I might have possibly in the
     12    past interacted with a sales representative,
     13    but I'm generally not the one that does the
     14    ordering or anything like that.
     15            Q.        Who generally does the
     16    ordering?
     17            A.        Well, I work with several
     18    different practices, so I can't -- you know,
     19    it's usually the practice manager.
     20            Q.        Okay.    Did you know anyone at
     21    the law firm, at Ms. Fujimoto's law firm?
     22    Setting aside Ms. Fujimoto, did you know
     23    anyone at her law firm prior to your
     24    engagement in the opioid litigation?
     25            A.        No, I did not.        Not to my

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      1    knowledge, no.
      2            Q.        And did you know anyone at
      3    Cardinal Health prior to your work on this
      4    case or the opioid cases in general?
      5            A.        Not to my knowledge, no.
      6            Q.        How about at AmerisourceBergen?
      7            A.        No, not to my knowledge.
      8            Q.        Have you ever done any work
      9    with the law firm of Arnold & Porter?
     10            A.        I've never heard of them.
     11            Q.        Okay.    How about the Reed Smith
     12    firm?
     13            A.        I've never heard of them.
     14            Q.        How about Kirkland & Ellis?
     15            A.        Never heard of them.
     16            Q.        Okay.    How about Jones Day?
     17            A.        Never heard of them.
     18                      Sorry, just a second.
     19            Q.        That's okay.
     20            A.        I'm muting my phone.
     21                      Sorry, go ahead.
     22            Q.        Have you ever done any work
     23    with the Dechert law firm?
     24            A.        Not to my knowledge.
     25            Q.        How about Morgan and Lewis?

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      1            A.        Not to my knowledge.
      2            Q.        How about a law firm called
      3    Williams & Connolly?
      4            A.        Not to my knowledge.
      5            Q.        How about Covington & Burling?
      6            A.        Not to my knowledge.
      7            Q.        Ropes & Gray?
      8            A.        Not to my knowledge.
      9            Q.        We're almost there, I promise.
     10                      A law firm called O'Melveny &
     11    Myers?
     12            A.        Not to my knowledge.
     13            Q.        Zuckerman Spaeder?
     14            A.        Not to my knowledge.
     15            Q.        Barnes & Thornburg?
     16            A.        Not to my knowledge.
     17            Q.        Holland & Knight?
     18            A.        Not to my knowledge.
     19            Q.        So is it fair for me to say
     20    then that prior to your work in the opioid
     21    litigation, you have not done any consulting
     22    or any type of professional work with law
     23    firms?     Is that correct?
     24            A.        That is correct.
     25            Q.        Okay.    I probably could have

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      1    just asked you that at the outset.
      2                      How much are you being
      3    compensated for your work in this case?
      4            A.        My rates are $400 an hour for
      5    reviewing and talking with counsel, and 550
      6    an hour for depositions and any trial.
      7            Q.        Okay.    How did you come up with
      8    those rates?
      9            A.        That was based on what my boss
     10    at the time, who had recommended
     11    Ms. Fujimoto, had said.
     12            Q.        Gotcha.
     13                      So your boss at the time was
     14    the one who recommended you to Ms. Fujimoto?
     15            A.        Correct.
     16            Q.        And who was your boss at the
     17    time?
     18            A.        Her name was Dana Gossett.
     19            Q.        Was this when you were working
     20    in Hawaii?
     21            A.        No, this was -- she --
     22    actually, I had not started working for her.
     23    She worked at the University of
     24    California-San Francisco.
     25            Q.        Okay.    Gotcha.

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      1                      So it's your -- is this your
      2    current boss?
      3            A.        No, because she left.
      4            Q.        Gotcha.     Okay.
      5                      But at the time, she was your
      6    future boss.       Then you came there and she was
      7    your boss; is that right?
      8            A.        That is correct.
      9            Q.        Okay.    And do you know how she
     10    came to know Ms. Fujimoto?
     11            A.        I believe she had worked on a
     12    previous case.
     13            Q.        Gotcha.
     14                      And is it your understanding
     15    that that was an opioid case?
     16            A.        That was not an opioid case.
     17            Q.        That was another case.
     18                      Was that also for McKesson?
     19            A.        I don't believe so, no.
     20            Q.        And what is your understanding
     21    as to why you were recommended?
     22            A.        Because I'm an expert in the
     23    treatment of opioid use disorders and
     24    pregnancy.
     25            Q.        And did the person who

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      1    recommend you, is it your understanding that
      2    she felt that was outside her expertise?
      3                      MS. FUJIMOTO:       Object to form.
      4                      THE WITNESS:       Yes.
      5                      That is my understanding.
      6    QUESTIONS BY MR. PENDELL:
      7            Q.        Have you spoken to her since
      8    your engagement on these cases?
      9            A.        Well, I mean, other than for
     10    work-related matters, no.
     11                      I mean, I spoke to her daily
     12    for work-related matters, but not for this
     13    case.
     14            Q.        Sure.    Let me ask you a better
     15    question.
     16                      Have you spoken to her about
     17    your role in these cases?
     18            A.        No, I have not.
     19            Q.        How many hours have you put
     20    into this case to date?
     21            A.        I would have to look through my
     22    invoices.      For this particular case, I
     23    believe it was -- because of my previous
     24    involvement in the other litigation and
     25    having done the reviews for that, I think for

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      1    this case alone it's been, I think,
      2    approximately eight to ten hours.
      3            Q.        And how much time do you expect
      4    to spend on this case after today, if any?
      5            A.        Well, it depends on what
      6    happens with this going forward.
      7            Q.        Sure.    Okay.
      8                      Well, let me ask this:           Setting
      9    aside the fact that you may testify at trial,
     10    do you expect to do anything in this case
     11    between today and the time that you're asked
     12    to come to West Virginia for testimony?
     13            A.        Again, I think it depends on
     14    what happens today and in the future.                I
     15    can't speculate for what is needed.
     16            Q.        Has all of your time been
     17    billed up till today?
     18            A.        I have not submitted any
     19    invoices as of yet.
     20            Q.        When do you -- I'm sorry, I
     21    apologize.
     22                      Part of the problem with not
     23    being in the same room, too, is sometimes I
     24    may think you're done because there's a
     25    little lag.       And I don't mean to speak up --

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      1    over you, so I apologize in advance if that
      2    happens from time to time.
      3                      When do you generally send out
      4    your billing in cases?
      5            A.        Generally, when I get around to
      6    it.
      7            Q.        Fair enough.
      8                      So there's no rhyme and reason.
      9    It's when you can get it out, you'll do it;
     10    is that fair?
     11            A.        Yes.    Yes.
     12            Q.        Who keeps track of how much
     13    time you've spent in this matter?               Is that
     14    something you do?
     15            A.        Yes.
     16            Q.        And are you the one who
     17    prepares the invoices?
     18            A.        I am.
     19            Q.        And you are charging for your
     20    time today, correct?
     21            A.        I am charging for my time
     22    today, yes.
     23            Q.        And you'll also be charging for
     24    any time you spent preparing for this
     25    deposition, correct?

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      1            A.        Correct.
      2            Q.        Do you charge for your travel
      3    time, Doctor?
      4            A.        In regards to this case or in
      5    regards to what?
      6            Q.        Okay.    So if you have to show
      7    up in trial in West Virginia, San Francisco
      8    to West Virginia is a bit of a hike.
      9                      Will you charge for the time
     10    that you spend traveling from San Francisco
     11    to West Virginia for trial?
     12            A.        Yes, I will.
     13            Q.        Is there anybody who helped you
     14    in preparing your report in this case?
     15            A.        Other than Ms. Fujimoto, no.
     16            Q.        Okay.    So you don't have like a
     17    staff or an assistant that helped with the
     18    research or the writing of the report; is
     19    that correct?
     20            A.        No, I do not.
     21                      I'm in academia.        I don't have
     22    a whole a lot of support for these things.
     23            Q.        You currently are a professor
     24    for the University of California, correct?
     25            A.        Correct.

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      1            Q.        And that's in San Francisco?
      2            A.        Yes.
      3            Q.        Let's talk about that for a
      4    minute.
      5                      What specifically do you teach
      6    at the University of California?
      7            A.        So I am a professor of
      8    obstetrics and gynecology and also addiction
      9    medicine.      I teach general obstetrics and
     10    gynecology to residents and medical students,
     11    and then I serve on the addiction consult
     12    service at Zuckerberg San Francisco General
     13    Hospital where -- and I also work at The
     14    Bridge Clinic there and teach addiction
     15    medicine fellows.
     16            Q.        So how much of your time is
     17    spent actually in the classroom teaching
     18    versus clinical work with students?
     19            A.        Well, as a medical student
     20    professor, we don't teach much in the
     21    classrooms.       It is more on the wards
     22    teaching.
     23                      I do teach a one class, a
     24    block.     So the medical students rotate
     25    through the block, and I teach one class a

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      1    block for that.
      2                      And then in general, the rest
      3    of the teaching is during my clinical work.
      4            Q.        Gotcha.
      5                      And when you're talking about
      6    the block that you teach, is that focused on
      7    the OB/GYN work or the addiction work or
      8    both?
      9            A.        It's an -- the intersection, so
     10    it's talking about addiction in pregnant
     11    women.
     12            Q.        Understood.
     13                      And how -- strike that.
     14                      Do you have to -- as part of
     15    your job as a professor, do you hold office
     16    hours?
     17            A.        No, it's not like that.
     18            Q.        Okay.    And I assume that's
     19    because when people are rotating through
     20    clinical work with you, they're seeing you
     21    face to face at that time; is that --
     22            A.        Correct.
     23            Q.        Okay.    How much do you get paid
     24    as a professor at the University of
     25    California?

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      1            A.        Well, it's a matter of public
      2    record.      I make what a tier 1 professor of
      3    OB/GYN makes.
      4            Q.        And do you know what that is?
      5                      MS. FUJIMOTO:       Object to form.
      6            I'm going to object.          That's
      7            irrelevant.       Personal, private
      8            information.       No need to answer.
      9            Annual income is not discoverable.
     10                      MR. PENDELL:       I believe she
     11            just said it was public record, so I
     12            think your objection --
     13                      MS. FUJIMOTO:       Then it --
     14                      THE WITNESS:       Well, I can tell
     15            you what the base salary is, but as --
     16            you know, and you can look it up.
     17    QUESTIONS BY MR. PENDELL:
     18            Q.        Sure.
     19                      What is the -- what is the base
     20    that you know?
     21            A.        The base that I know of is 320.
     22            Q.        320.
     23                      Who do you report to at
     24    University of California-San Francisco?
     25            A.        Well, my direct -- the division

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      1    director is Andrea Jackson.
      2            Q.        And is Ms. Jackson a physician?
      3            A.        Dr. Jackson is a physician,
      4    yes.
      5            Q.        And do you know -- I'm sorry, I
      6    didn't mean to cut you off.
      7            A.        Oh, and then the department
      8    chair is Dr. Amy Murtha.
      9            Q.        Is Dr. Jackson an OB/GYN?
     10            A.        She is.
     11            Q.        Okay.    And how about -- I
     12    believe you said Dr. Murtha?             Did I say that
     13    correctly?
     14            A.        Yes.
     15            Q.        Is Dr. Murtha an OB/GYN?
     16            A.        She is.
     17            Q.        Do you know if the University
     18    of California has a conflict of interest
     19    policy that requires professors to disclose
     20    their work as a paid expert witness in
     21    litigation on behalf of the pharmaceutical
     22    industry?
     23            A.        Yes, they do.
     24            Q.        And what is your basic
     25    understanding of that policy?

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      1            A.        We have to report it to both
      2    our supervisors and get permission to act as
      3    expert witnesses, and then we have to
      4    disclose yearly -- or actually at the time,
      5    so it tends to be quarterly, of the amount of
      6    time that we spend and the amount me bill.
      7            Q.        And you've done that here?
      8            A.        Yes, I have.
      9            Q.        Who did you have to -- or who
     10    did you report to about your work on this
     11    case as a paid expert for the pharmaceutical
     12    industry?
     13            A.        We have an online tracking
     14    system.
     15            Q.        Gotcha.
     16                      Has anyone at the university
     17    expressed concern about your being a paid
     18    expert for the pharmaceutical industry in
     19    opioid litigation?
     20            A.        No, they have not.
     21            Q.        Have you ever had any
     22    discussions with any other faculty at the
     23    university about your being a paid,
     24    testifying expert for the pharmaceutical
     25    industry in opioid litigation?

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      1                      MS. FUJIMOTO:       Object to form.
      2                      THE WITNESS:       I have not.
      3    QUESTIONS BY MR. PENDELL:
      4            Q.        I'm sorry?
      5            A.        I said I have not.         Not to my
      6    knowledge, no.
      7            Q.        Do you ever discuss your
      8    consulting on behalf of the pharmaceutical
      9    industry with your students?
     10            A.        I do not.      I disclose it at the
     11    beginning of all my -- any CME, so continuing
     12    medical education.         I disclose that I receive
     13    consulting income from McKesson.
     14            Q.        You disclose specifically what
     15    the consulting you're providing is, or is it
     16    limited to just that you're consulting?
     17            A.        I disclose that I am a
     18    consultant.
     19            Q.        Do you disclose that you're an
     20    expert in opioid litigation?
     21            A.        I just disclose I am a
     22    consultant, and then if there's further
     23    questions, I would disclose what it is about.
     24            Q.        Do you teach anything to your
     25    students about prescription opioids?

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      1            A.        I do.
      2            Q.        What do you teach them?
      3            A.        I teach about kind of safe
      4    opioid prescribing practices and also, you
      5    know, alternatives to opioids.
      6            Q.        Do you tell your students about
      7    the risks of addiction associated with
      8    prescription opioids?
      9                      MS. FUJIMOTO:       Object to form.
     10                      THE WITNESS:       I talk to my
     11            students about, you know, the risks of
     12            addiction with all medications.              You
     13            know, any medication can be misused.
     14    QUESTIONS BY MR. PENDELL:
     15            Q.        Doctor, is it your position
     16    that all medications are addictive?
     17            A.        I am not saying that all
     18    medications are addictive.            I am saying that
     19    I have had patients misuse many medications.
     20            Q.        Okay.    But -- okay.       So you do
     21    consult -- or, I'm sorry, you do teach your
     22    students specifically about the risk of
     23    addiction related to prescription opioids; is
     24    that right?
     25            A.        I teach my students about the

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      1    risks of addictions with all psychoactive
      2    medications that have addictive properties,
      3    including benzodiazepines.            I've had patients
      4    misuse Benadryl, for that example.
      5            Q.        And that includes prescription
      6    opioids, correct?
      7            A.        That does include prescription
      8    opioids.
      9            Q.        And you do believe that
     10    prescription opioids are addictive, correct?
     11                      MS. FUJIMOTO:       Object to form.
     12                      THE WITNESS:       I believe all
     13            opioids can be addictive, yes.
     14    QUESTIONS BY MR. PENDELL:
     15            Q.        Including prescription opioids,
     16    right?
     17            A.        Yes, prescription opioids can
     18    be addicted {sic}.
     19            Q.        Do any of the journals that you
     20    work on or on editorial boards require an
     21    expert witness in pharmaceutical industry --
     22    strike that.
     23                      Do any of the journals that you
     24    work on require you to disclose your being an
     25    expert witness for the pharmaceutical

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      1    industry in opioid litigation?
      2            A.        They do.
      3            Q.        And have you made those
      4    disclosures?
      5            A.        I have made those disclosures.
      6            Q.        And you've never consulted for
      7    any of the opioid manufacturers; is that
      8    correct?
      9            A.        I have not.
     10            Q.        Even in nonopioid-related
     11    matters, correct?
     12            A.        Correct.
     13            Q.        Doctor, are you the creator of
     14    any patents?
     15            A.        I am not.
     16            Q.        Do you own any stock in a
     17    pharmaceutical company, to your knowledge?
     18            A.        To my knowledge, no.
     19            Q.        I appreciate you may have a
     20    401(k) that's administered by somebody else.
     21    I'm just interested in, you know, whether or
     22    not you know that specifically you've went
     23    out and purchased stock in a pharmaceutical
     24    company.
     25            A.        No, I have not.

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      1            Q.        How about anyone in your
      2    immediate family?         Do you know if anyone in
      3    your immediate family is a -- has a stock
      4    ownership in pharmaceutical companies?
      5                      MS. FUJIMOTO:       Object to form.
      6                      THE WITNESS:       Not to my
      7            immediate -- or not to my knowledge,
      8            no.
      9    QUESTIONS BY MR. PENDELL:
     10            Q.        Aside from the hourly work
     11    you're doing in this case and the other
     12    opioid cases, does any company involved in
     13    the pharmaceutical industry have any
     14    financial obligation to you?
     15            A.        To my -- so are you asking
     16    me -- can you repeat that question, please?
     17            Q.        Sure.
     18                      So aside from the work that
     19    you're doing in these opioid-related cases,
     20    is there any company involved in the
     21    pharmaceutical industry that has any
     22    financial obligation that it owes to you?
     23            A.        Not to my knowledge, no.
     24            Q.        Are there any types of
     25    companies that you would not be willing to

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      1    provide your professional services to?
      2            A.        Yes, I think there are quite a
      3    few companies that I think we have moral and
      4    ethical obligations not to provide testimony
      5    for.    I can think of tobacco companies, for
      6    example.
      7            Q.        I knew that's where you were
      8    going to go.
      9                      And any others aside from
     10    tobacco companies that you can think of?
     11            A.        Well, I'm not a big fan of
     12    Purdue pharmaceuticals, but that's my own...
     13            Q.        What is it about Purdue that
     14    makes you not a big fan?
     15            A.        Well, they did look pretty bad
     16    when they started, you know, using a
     17    half-page letter to the editor to justify
     18    their work.
     19            Q.        Did you do any research about
     20    the relationship between Purdue Pharma and
     21    McKesson at all?
     22                      MS. FUJIMOTO:       Object to form.
     23                      THE WITNESS:       I did not.
     24    QUESTIONS BY MR. PENDELL:
     25            Q.        Did anyone describe for you or

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      1    tell you about the relationship between
      2    McKesson and Purdue Pharma?
      3                      MS. FUJIMOTO:       Object to form.
      4                      THE WITNESS:       Not to my
      5            knowledge, no.
      6    QUESTIONS BY MR. PENDELL:
      7            Q.        Would it surprise you to know
      8    that there was a relationship between
      9    McKesson and Purdue Pharma?
     10                      MS. FUJIMOTO:       Object to form.
     11                      THE WITNESS:       Well, given that,
     12            you know, drug distributors, you know,
     13            have to have business relationships,
     14            I'm not -- I would not be surprised.
     15    QUESTIONS BY MR. PENDELL:
     16            Q.        Doctor, in your clinical work,
     17    you still see patients.
     18                      How often do you see patients
     19    in a given week?
     20            A.        Every day.
     21            Q.        And your patients are all
     22    women, correct?
     23            A.        No, I do see some men in the
     24    addiction medicine clinic now.
     25            Q.        Okay.    But -- fair enough.

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      1                      But on the OB/GYN side, all
      2    your patients are women, correct?
      3            A.        Yes, unless they're transsexual
      4    men, yeah.
      5            Q.        Fair enough.       Fair enough.
      6                      And you currently treat
      7    pregnant women with opioid use disorder; is
      8    that correct?
      9            A.        I do.
     10            Q.        For how many years have you
     11    treated women with OUDs?            Is it okay if I
     12    call it OUD?
     13            A.        Yes, that's fine.
     14                      I have been treating women with
     15    opioid use disorder since 2007.
     16            Q.        And I'm going to ask you an
     17    unfair question, which are my favorite types
     18    of questions to ask.
     19                      But ballpark, how many pregnant
     20    women would you say you treat in a year?
     21            A.        Well, prior to moving here,
     22    when I was in Hawaii -- I'm sorry, pregnant
     23    women in general or -- I mis --
     24            Q.        Fair enough.
     25                      What I mean by -- just pregnant

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      1    women in general.         How many patients would
      2    you say you see over the course of a year
      3    that are pregnant women?
      4            A.        I think that varies, but quite
      5    a few.     I would say in the hundreds.
      6            Q.        Okay.    More than a hundred?
      7            A.        Yes.
      8                      Emily is her name, I forgot her
      9    name, and now she just --
     10            Q.        Of the pregnant women that you
     11    see over the course of a year, how many of
     12    those women would you say had a substance use
     13    disorder of any kind?
     14            A.        Well, currently I -- because
     15    I'm mainly treating the general obstetrics
     16    population, the -- you know, in our general
     17    population if you look at tobacco, alcohol
     18    and all -- and cannabis and all other
     19    substances, it's generally around 3 to
     20    4 percent.
     21                      When I staff an addiction
     22    clinic, it's obviously much higher.
     23            Q.        What do you mean "by staff an
     24    addiction clinic"?         What does that mean?
     25            A.        Well, there's -- you know, when

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      1    I ran my addiction clinic in Hawaii, you
      2    know, probably 80 to 90 percent of the
      3    patients there had a substance use disorder.
      4            Q.        And when is the last time that
      5    you staffed an addiction clinic?              Was that in
      6    Hawaii?
      7            A.        No, I staff one here, The
      8    Bridge Clinic here, but it doesn't
      9    specifically take care of pregnant women.
     10            Q.        Understood.       Understood.
     11                      So going back to -- I believe
     12    you said 3 to 4 percent of women that you
     13    currently are treating over the course of
     14    this -- of a year have a substance use
     15    disorder.
     16                      What is the percentage of those
     17    women who specifically have an opioid use
     18    disorder?
     19            A.        Well, a diagnosed opioid use
     20    disorder is probably less than 1 percent
     21    because it is the general obstetrics
     22    population.
     23            Q.        Let's go back to your time in
     24    Hawaii.
     25                      What was the -- what was the

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      1    general makeup there of women that you
      2    treated that had opioid use disorder versus
      3    some other substance use disorder?
      4            A.        Approximately -- probably
      5    10 percent of opioid use disorder and then,
      6    you know, 40 percent methamphetamines, 60 to
      7    70 percent tobacco.
      8            Q.        And were you seeing about the
      9    same number of patients a year when you were
     10    doing your work in Hawaii as you're doing
     11    now?
     12            A.        In general, I was probably
     13    seeing a few less patients.             In general,
     14    OB/GYN and more patients with substance use
     15    dis -- more pregnant patients with substance
     16    use disorder.
     17            Q.        What has the number of pregnant
     18    women with OUD looked like from your
     19    perspective over the last 10 to 15 years?
     20    Has it increased?         Has it decreased?
     21            A.        From my perspective, just going
     22    from Hawaii, I saw methamphetamines still was
     23    the number one drug, but the amount of
     24    opioids did increase over that time.
     25            Q.        And I'm sorry, I just want to

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      1    make sure that I'm understanding your
      2    testimony.
      3                      When you say increased over
      4    that period of time, was that -- the period
      5    of time you're referring to, is that while
      6    you were in Hawaii or the crossover from
      7    Hawaii to California?
      8            A.        That was while I was in Hawaii,
      9    yes.
     10            Q.        And what is it looking like
     11    from your perspective now?
     12            A.        Well, because I don't have a
     13    specific clinic for substance use disorder
     14    right now in pregnant women, it -- I can't
     15    judge, you know.         And it is two different
     16    areas.     But I can tell you that the great
     17    majority of women use more than one
     18    substance.
     19                      So, you know, there's a lot of
     20    opioids, a lot of methamphetamines, a lot of
     21    benzodiazepines and alcohol and tobacco.
     22            Q.        Doctor, you are not a
     23    pediatrician; is that correct?
     24            A.        I am not a pediatrician,
     25    correct.

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      1            Q.        How many babies that you
      2    delivered over the course of your career have
      3    you followed after birth?
      4            A.        Well, I have followed their
      5    mothers after birth, so I have seen them grow
      6    up and -- but I have not followed them as
      7    patients.
      8            Q.        And you've not provided them
      9    medical care, correct?
     10            A.        I have not provided them
     11    medical care, correct.
     12            Q.        How many babies have you
     13    delivered over the course of your career that
     14    you personally diagnosed with opioid-related
     15    NAS?
     16            A.        I don't diagnose opioid-related
     17    NAS.
     18            Q.        And is it okay -- because I
     19    know you use the term NOWS and then also NAS.
     20    Is it all right if I just say opioid-related
     21    NAS when talking about those two conditions?
     22            A.        Yeah, I prefer neonatal
     23    withdrawal because I think it's a much more
     24    accurate term.
     25            Q.        So who generally would diagnose

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      1    one of the babies that you delivered with NAS
      2    after delivery?
      3            A.        Generally the pediatricians
      4    taking care of those babies.
      5            Q.        There is some transience with
      6    your patient population; is that correct?                  Is
      7    that fair?
      8            A.        Define transience.
      9            Q.        Sure.    So some of the pregnant
     10    women that you treat sometimes move, and you
     11    don't see them again after a certain period
     12    of time of treating them; is that fair?
     13            A.        Yes, that is fair.
     14            Q.        And some of them may just for
     15    some reason stop coming or they may find
     16    another OB/GYN.
     17                      That happens from time to time,
     18    correct?
     19            A.        That does happen from time to
     20    time, yes.
     21            Q.        How often would you say -- how
     22    often would you say that you lose patients in
     23    a given year, for moving or whatever reason?
     24            A.        Well, when we've looked at our
     25    follow-up rates, you know, and in general,

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      1    you know, given that I'm a general OB/GYN,
      2    some don't follow up for -- in any
      3    population.
      4                      But when we looked at our
      5    follow-up rates at the clinic I was at, it
      6    was -- we had about 50 percent that we would
      7    see again.
      8            Q.        Doctor, do you agree that
      9    approximately 35 percent of people treated
     10    with opioids for chronic pain go on to
     11    develop an opioid use disorder?
     12            A.        I do not agree with that.
     13            Q.        Tell me everything that
     14    supports your position on that.
     15            A.        I have read many reports that
     16    have looked at rates varying anywhere from
     17    less than 1 percent to 30 to 40 percent.
     18    It's really hard to pin down that number
     19    because it is so complicated in who has
     20    prescribed it, whether they had a preexisting
     21    substance use disorder, including tobacco or
     22    alcohol, and other risk factors going along
     23    with that.
     24            Q.        What is the -- is there a
     25    percentage that you generally think is the

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      1    appropriate percentage of people treated with
      2    opioids for chronic pain that go on to
      3    develop opioid use disorder?
      4                      MS. FUJIMOTO:       Object to form.
      5                      THE WITNESS:       Again, it depends
      6            on the population and the reason why
      7            they're being treated for the chronic
      8            pain and whether they had a coexisting
      9            substance use disorder and other risk
     10            factors.
     11    QUESTIONS BY MR. PENDELL:
     12            Q.        Do you agree that women are
     13    more likely to prescribe opioids for pain
     14    relief than men?
     15            A.        I do agree with that.
     16            Q.        And do you agree that women are
     17    most often prescribed opioids for conditions
     18    for which they are not effective, like
     19    migraine, fibromyalgia or osteoarthritis?
     20                      MS. FUJIMOTO:       Object to form.
     21                      THE WITNESS:       Well, I was going
     22            to say, you've looked at some of my
     23            presentations, haven't you?
     24    QUESTIONS BY MR. PENDELL:
     25            Q.        I read everything, Doctor.

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      1            A.        I figured as much.
      2            Q.        So you do agree with that?
      3            A.        I do agree with that.
      4            Q.        And you do agree that the great
      5    majority of women who received prescription
      6    opioids were of childbearing age, correct?
      7            A.        I do agree with that.
      8            Q.        And you agree that because of
      9    that, it has led this country to its current
     10    epidemic of infants needing treatment for
     11    neonatal abstinence syndrome?
     12                      MS. FUJIMOTO:       Object to form.
     13                      THE WITNESS:       And you are --
     14            you are taking something out of a
     15            presentation I gave and not looking at
     16            the entire picture.          But, yes, we
     17            do -- if you look at the Patrick
     18            article which you are talking about,
     19            there was an increase.           But to say
     20            that it is simplistically because of
     21            prescription opioids is nuanced, to
     22            say the least.
     23    QUESTIONS BY MR. PENDELL:
     24            Q.        In what way?
     25            A.        There are many other factors,

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      1    and I talk about the -- you know, if you
      2    looked at that thing, it shows the book
      3    Dreamland, and it shows the many nuanced
      4    factors that led to the opioid -- if you want
      5    to call it a crisis and overprescribing.
      6            Q.        You do agree, though, that one
      7    of the common factors was the prescribing of
      8    prescription opioids, correct?
      9            A.        I think, looking in retrospect,
     10    I think we did definitely prescribe opioids.
     11            Q.        And do you agree that treating
     12    babies born with opioid-related NAS cost the
     13    United States over $500 million annually?
     14                      MS. FUJIMOTO:       Object to form.
     15                      THE WITNESS:       Well, that is
     16            something that was quoted.
     17    QUESTIONS BY MR. PENDELL:
     18            Q.        I'm sorry, something that was
     19    quoted?
     20            A.        In one of those papers, yes.
     21            Q.        Any reason to disagree with
     22    that?
     23            A.        I have no reason to disagree.
     24            Q.        Do you agree that pregnant
     25    women being treated for OUD have babies that

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      1    do better than pregnant women with OUD that
      2    are not being treated by medical
      3    professionals for OUD?
      4            A.        I do agree that women with
      5    opioid use disorder who are treated
      6    appropriately with medications do much
      7    better.
      8            Q.        And their babies do better,
      9    correct?
     10            A.        And their babies do better,
     11    correct.
     12            Q.        Doctor, it's my understanding
     13    you hold a waiver to prescribe bupe; is that
     14    correct?
     15            A.        Yes, I do prescribe
     16    buprenorphine.        I do hold a waiver.
     17            Q.        I call it bupe because as many
     18    times as I practice, I can never say it
     19    appropriately, so...
     20            A.        At least don't call is subs.
     21            Q.        What is bupe?
     22            A.        Buprenorphine is a partial
     23    opioid agonist.        So it works on the opioid
     24    receptors, partially -- it blocks the effects
     25    of other opioids, but it does not activate

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      1    the opioid receptor, so that you don't get
      2    the feelings of euphoria.
      3            Q.        And it is used to treat opioid
      4    use disorder the same way that methadone is
      5    used, correct?
      6            A.        It is used to treat opioid use
      7    disorder, yes.
      8            Q.        And I understand they're not
      9    the same thing, but they're used for the same
     10    purpose with regards to OUD, right?
     11            A.        Yes, correct.
     12            Q.        How long do your patients
     13    typically remain on bupe?
     14            A.        They can remain on bupe
     15    anywhere from -- you know, if they tolerate
     16    and do well, it, you know, could be a
     17    long-term treatment.          Or, you know, if they
     18    don't tolerate it, they may not stay on it
     19    and may need to be on something else.
     20            Q.        In patients that can tolerate
     21    it, it could possibly be years that they're
     22    on it, correct?
     23            A.        Correct.
     24            Q.        Some people could possibly be
     25    on it for life; is that correct?

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      1                      MS. FUJIMOTO:       Object to form.
      2                      THE WITNESS:       We haven't -- we
      3            haven't had that much experience with
      4            it to say that they would need to be
      5            on it for life, but we know that there
      6            are -- just extrapolating from people
      7            that are on methadone, we know that
      8            they need life-long treatment, or can
      9            need lifelong treatment.
     10    QUESTIONS BY MR. PENDELL:
     11            Q.        It's not outside the realm of
     12    possibilities; is that fair?
     13            A.        It's not outside the realm of
     14    possibilities.        I liken it to the treatment
     15    of diabetes.       You know, some people are able
     16    to lose weight and get off their diabetes
     17    medications.
     18            Q.        And having read what I've read
     19    and what I know about you, I assume you agree
     20    that in those instances where the alternative
     21    is, you know, someone either being treated by
     22    bupe or going back to, you know, being opioid
     23    dependent, it's your position that they
     24    should remain on bupe if they can tolerate
     25    it, correct?

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      1                      MS. FUJIMOTO:       Object to form.
      2                      THE WITNESS:       It is my opinion
      3            that people that are successfully
      4            treated on buprenorphine do much
      5            better than if they go back on to
      6            other opioids that they were misusing,
      7            correct.
      8    QUESTIONS BY MR. PENDELL:
      9            Q.        Can you tell me some of the
     10    people that you consider to be experts in
     11    opioid addiction?
     12            A.        You know, in the field, in
     13    pregnant women in general or in opioid -- I
     14    mean, the field is huge.
     15            Q.        Let's start just with opioid
     16    addiction.
     17                      Like, who do you look to as
     18    authoritative?
     19            A.        There's many people that I look
     20    to as authoritative.          You know, off the top
     21    of my head, I -- you know, I'm thinking of my
     22    colleague, Mishka Terplan, who treats opioid
     23    use disorder in pregnant women.              You know,
     24    the list is huge, so...
     25            Q.        How about with regard to

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      1    opioid-related NAS?          Aside from yourself, who
      2    are the folks that you look to as
      3    authoritative or experts in that field?
      4            A.        Well, Loretta Finnegan
      5    certainly, you know, having come up with the
      6    Finnegan Score, and Karol Kaltenbach because
      7    they both wrote the chapter in my textbook.
      8                      And then the people out of Yale
      9    who came up with the eat, sleep, console
     10    method.
     11            Q.        Have you heard of Dr. Matt
     12    Grossman?
     13            A.        I have heard of him, yes.
     14            Q.        Do you consider him to be an
     15    expert on opioid-related NAS?
     16            A.        I am not familiar enough with
     17    his work to say for sure.
     18            Q.        Setting aside bupe and
     19    methadone and other medications used to treat
     20    OUD, have you yourself ever prescribed an
     21    opioid for pain relief?
     22            A.        I have.
     23            Q.        How often have you done that?
     24            A.        Well, I'm also a gynecologic
     25    surgeon, so after cesarean section and

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      1    hysterectomies, it is appropriate to
      2    prescribe opioids in small amounts.
      3            Q.        In those instances you just
      4    gave me, I assume that those opioids -- you
      5    would consider that prescribing opioids for
      6    acute pain; is that fair?
      7            A.        That is fair.
      8                      MS. FUJIMOTO:       Object to form.
      9    QUESTIONS BY MR. PENDELL:
     10            Q.        Have you ever prescribed an
     11    opioid for chronic pain?
     12            A.        I have.
     13            Q.        How often have you done that?
     14            A.        Not that often, but a fair
     15    amount because I also have women with chronic
     16    pain who were referred to me during pregnancy
     17    who were being treated for their chronic
     18    pain, and then their chronic pain physicians
     19    decided that they didn't feel comfortable
     20    treating pregnant women, and, you know,
     21    talking to them about alternatives and --
     22    of -- with opioids.          Sometimes it is
     23    appropriate to continue the medication.
     24            Q.        For what conditions have you
     25    prescribed opioids?          What type of chronic

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      1    conditions?
      2            A.        Well, I've had some patients
      3    who have been on chronic pain {sic} for some
      4    things like sickle cell anemia.              You know,
      5    even some conditions that may or may not have
      6    been appropriate, it is working for them.
      7    Chronic, low back pain.
      8            Q.        And what type of -- or what
      9    opioids have you prescribed; do you remember?
     10            A.        I have prescribed, depending on
     11    what they have been on before, oxycodone,
     12    hydrocodone, even codeine.
     13            Q.        Do you have a go-to brand or a
     14    preferred opioid that you prescribe more than
     15    others?
     16                      MS. FUJIMOTO:       Object to form.
     17                      THE WITNESS:       I don't have a --
     18            I don't prescribe by brands.             I use
     19            generics whenever possible.
     20    QUESTIONS BY MR. PENDELL:
     21            Q.        Sure.    Okay.
     22                      So do you have -- do you have a
     23    type of generic like, for example, a fentanyl
     24    patch versus, you know, a pill?              Is there one
     25    that you -- you know, you prefer over

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      1    another?
      2            A.        Well, if I'm treating chronic
      3    pain, generally it's not that I have
      4    initiated it.        I generally will continue what
      5    they have been on before.
      6            Q.        And let me ask you a little bit
      7    about that, Doctor.
      8                      Is part -- is part of your --
      9    if a pregnant woman comes to see you and
     10    she's already being prescribed opioids for
     11    chronic conditions from another doctor, do
     12    you have concerns about weaning that woman
     13    off the opioids while pregnant?
     14                      MS. FUJIMOTO:       Object to form.
     15            Foundation.
     16                      THE WITNESS:       I'm not sure what
     17            you mean by "concerns."           I mean,
     18            there's some instances where it is
     19            appropriate, if she's wanting to wean
     20            down, to wean down during pregnancy,
     21            and there are some instances where
     22            it's not appropriate to wean down the
     23            medications.
     24    QUESTIONS BY MR. PENDELL:
     25            Q.        Doctor, you've never been

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      1    deposed before; is that right?              This is your
      2    first time?
      3            A.        This is not my first time.
      4    I've before deposed as a witness in another
      5    litigation of a colleague.
      6            Q.        Okay.    So were you a fact
      7    witness, what's called a fact witness, in
      8    that case?
      9            A.        Yes.
     10            Q.        Was that a medical malpractice
     11    case?
     12            A.        It was.
     13            Q.        Did you have to testify at
     14    trial or was it just at deposition?
     15            A.        Just at deposition.
     16            Q.        And that's the only other time
     17    you've ever given sworn testimony?
     18            A.        No, I had a deposition of my
     19    own for a medical malpractice case.
     20            Q.        And you were a defendant as --
     21            A.        Yes.
     22            Q.        And did you have to testify at
     23    trial or just at deposition?
     24            A.        Just at deposition.
     25            Q.        And did that case settle?

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      1            A.        Yes.
      2            Q.        And so I'm correct then, those
      3    were both as fact depositions, and aside from
      4    today, you've never been deposed wearing the
      5    expert witness hat; is that fair?
      6            A.        That is correct.
      7            Q.        Have you ever submitted a
      8    report in a case as an expert witness, aside
      9    from the opioid litigation?
     10            A.        Aside from the opioid
     11    litigation, no, this is the first time.
     12            Q.        Okay.    So you've never been
     13    precluded by a court.          Your expert opinions
     14    have never been precluded by a court as we
     15    sit here today, correct?
     16            A.        Yes.    I -- well, I've -- was
     17    going to testify for a case in Missouri, but
     18    that case was dropped.           It was a criminal
     19    case, and I was testifying for the defense.
     20            Q.        Gotcha.
     21                      And you didn't submit a report
     22    in that case, though; is that right?
     23            A.        I did not.
     24            Q.        But the case went away before
     25    you got to do your thing; is that fair?

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      1            A.        Correct.
      2            Q.        All right.      This allows me to
      3    cut out a whole bunch of questions, so it's
      4    good for you.
      5                      MR. PENDELL:       Ms. Fujimoto,
      6            we've been going for an hour and ten
      7            minutes, and I'm happy to keep going,
      8            or if -- Doctor, if you need to quick
      9            a break, we can do that, too, because
     10            I'm moving on to another area of
     11            questioning.       It's up to you-all.
     12                      MS. FUJIMOTO:       I'm going to
     13            leave that up to Dr. Wright.
     14                      How you doing?
     15                      THE WITNESS:       Let me just go
     16            get a cup of tea real quick and I'll
     17            be right back.
     18                      MS. FUJIMOTO:       Let's take a
     19            short five, ten-minute break.
     20                      VIDEOGRAPHER:       12:07 p.m.       We
     21            are off the video record.
     22              (Off the record at 12:07 p.m.)
     23                      VIDEOGRAPHER:       12:14, we are on
     24            video record.
     25

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      1    QUESTIONS BY MR. PENDELL:
      2            Q.        Welcome back, Doctor.
      3                      Have you ever testified before
      4    Congress?
      5            A.        I have testified at the White
      6    House, not before Congress, no.
      7            Q.        What was your testimony at the
      8    White House in regards to?
      9            A.        That how we need more addiction
     10    providers.
     11            Q.        And when was this,
     12    approximately?
     13            A.        It was approximately 2019, I
     14    want to say May, but I'm not positive.
     15            Q.        So it was before the Trump
     16    White House?
     17            A.        No, it was -- it was during the
     18    current administration.
     19            Q.        That's what I mean, the
     20    Trump -- the Trump White House?
     21            A.        Yes.
     22            Q.        And was it actually -- were you
     23    actually testifying to the president, or who
     24    were you testifying to?
     25            A.        No, to the ONDCP.

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      1            Q.        And the ONDCP is?
      2            A.        The Office of National Drug
      3    Control Policy, I believe.            That's the
      4    acronym.
      5            Q.        Were there -- I'm sorry.           Were
      6    there any other doctors who were there
      7    speaking with you?
      8            A.        Yeah, there were several other
      9    doctors.      It was about addiction medicine and
     10    the need for more addiction medicine
     11    providers.
     12            Q.        So let me ask you this to
     13    follow up on that.
     14                      You do agree that there is a
     15    need nationally for more addiction provider
     16    doctors, correct?
     17            A.        Yes, there is definitely a need
     18    for more addiction medicine providers.
     19            Q.        Have you ever testified before
     20    a legislative committee?
     21            A.        In the state of Hawaii I have.
     22            Q.        And what was your testimony in
     23    the state of Hawaii in regards to?
     24            A.        In regards to get money to
     25    start the perinatal addiction treatment

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      1    center that I set up in Hawaii.
      2            Q.        What year did you set that up?
      3            A.        In -- I opened in 2007.
      4            Q.        And so approximately what year
      5    was your testimony?
      6            A.        Well, several times over 2006,
      7    2007.
      8            Q.        Is it your understanding that
      9    that testimony is publicly available?
     10            A.        It is my understanding.
     11            Q.        Have you ever been interviewed
     12    in either a personal or professional capacity
     13    by the DEA?
     14            A.        Well, everybody that gets a
     15    buprenorphine waiver has to inter -- they
     16    have an office visit from the DEA.
     17            Q.        And setting aside that
     18    interview with the DEA for the purpose of
     19    getting a bupe waiver, have you ever been
     20    interviewed in any personal or professional
     21    capacity by the DEA?
     22            A.        Not to my knowledge, no.
     23            Q.        Am I correct that that
     24    interview that you did with the DEA for the
     25    bupe waiver, that was just a conversation?

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      1    You didn't submit any written testimony,
      2    correct?
      3            A.        Correct.     Just a conversation
      4    and an office visit.
      5            Q.        Have you ever been interviewed
      6    in a personal or professional capacity by the
      7    Department of Justice?
      8            A.        Not to my knowledge, no.
      9            Q.        Have you ever been interviewed
     10    in either a personal or professional capacity
     11    by the FDA?
     12            A.        No, not to my knowledge.
     13            Q.        Have you done -- have you ever
     14    been interviewed in either a personal or
     15    professional capacity by the CDC?
     16            A.        By the CDC?
     17            Q.        Yes.
     18            A.        I -- I have done some work for
     19    the CDC on -- and actually visited the CDC
     20    for Screening, Brief Intervention and
     21    Referral to Treatment.
     22            Q.        And when was it that you did
     23    that with the CDC?
     24            A.        2012, I believe.        I would have
     25    to look at my records.

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      1            Q.        Did you provide any sworn
      2    testimony or statement to the CDC?
      3            A.        No.
      4            Q.        And I assume no -- I asked you
      5    about interviews, but no sworn testimony or
      6    sworn statements to the FDA or the DOJ
      7    either, correct?
      8            A.        Correct.
      9            Q.        Is there any other work that
     10    you have done in your professional capacity
     11    for the government that I've not asked you
     12    about?
     13            A.        Not to my recollection.
     14            Q.        Have you ever testified before
     15    a grand jury?
     16            A.        No.
     17            Q.        Have you ever been charged with
     18    a crime or a misdemeanor?
     19            A.        No.
     20            Q.        Have you been arrested?
     21            A.        No.
     22            Q.        Have you ever faced any
     23    disciplinary hearings in your professional
     24    capacity?
     25            A.        No.

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      1            Q.        Do you advertise your
      2    availability to testify as an expert witness?
      3            A.        I do not.
      4            Q.        Does someone advertise on your
      5    behalf?
      6            A.        No.
      7            Q.        So how do you promote your
      8    expert witness services?
      9            A.        I don't promote it.
     10            Q.        And no one else promotes it on
     11    your behalf?
     12            A.        No.
     13                      (Wright Exhibit 1 marked for
     14            identification.)
     15    QUESTIONS BY MR. PENDELL:
     16            Q.        If we could look, Doctor, at
     17    Exhibit 1, which I marked ahead of time.
     18    It's going to be your CV.
     19            A.        Uh-huh.
     20            Q.        And this was the CV that was
     21    provided to us along with your report.
     22                      Do you have that?
     23            A.        Yes.
     24                      MR. PENDELL:       Court reporter,
     25            may I -- I sent a link to these, so

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      1            hopefully you have them and they've
      2            already been premarked.
      3    QUESTIONS BY MR. PENDELL:
      4            Q.        Is this CV up to date?
      5            A.        There's a few talks and one
      6    paper that have not been put on it.                I was
      7    just looking over it this morning and saying,
      8    oh, I need to update that.
      9            Q.        Were those -- let's start with
     10    the talks.
     11                      Were the talks done in 2020?
     12            A.        Yes.
     13            Q.        And what were the talks
     14    generally?
     15            A.        In general, it was the American
     16    Society of Addiction Medicine on -- it was on
     17    alcohol use disorders in pregnancy.
     18            Q.        Was that pre-COVID?
     19            A.        No.
     20            Q.        And were both talks on that
     21    subject matter?
     22            A.        One talk was for the ASAM, and
     23    then we -- I did have a conference in January
     24    about the same, actually, alcohol use
     25    disorders in pregnancy, and also stigma and

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      1    racial or social justice.
      2            Q.        And I believe you also said
      3    that there was a paper?
      4            A.        Yes.    It hasn't come out yet,
      5    but it was on maternal mortality.
      6            Q.        And you anticipated another
      7    question I had which -- well, we'll get to
      8    it.
      9                      If there are any updates to
     10    your CV between now and the time of trial, I
     11    just ask that you let Ms. Fujimoto know so
     12    she can take whatever steps she needs to let
     13    know me that something has changed.
     14                      Okay?    Is that --
     15            A.        I will.
     16            Q.        I appreciate that.
     17                      Do you have a different CV for
     18    non-testifying work, or is this your only CV?
     19            A.        This is my only CV.
     20            Q.        If you look at the section that
     21    says "Selected Presentations."              I believe
     22    that's on page -- yeah, I'm sorry, National,
     23    International Invited Conferences and
     24    Symposium Presentations on page 7.
     25                      You just updated that for me,

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      1    that's correct?        That's what you're talking
      2    about with regards to additional
      3    presentations?
      4            A.        Yes.
      5            Q.        You're license to practice in
      6    Colorado, according to your CV, is currently
      7    inactive, correct?
      8            A.        Correct.
      9            Q.        Why is that?
     10            A.        Because I moved from Colorado
     11    and I didn't keep it active.
     12            Q.        And you used to teach in
     13    Colorado; is that correct?
     14            A.        I was in private practice, but
     15    I was a teaching physician for the University
     16    of Colorado, so I had a few residents in
     17    surgery or deliveries with them.
     18            Q.        So was that in the Boulder area
     19    where you were practicing?
     20            A.        No, it was in Aurora.
     21            Q.        Aurora.     Gotcha.
     22                      You mentioned one article that
     23    is not yet published that's not listed here;
     24    is that right?
     25            A.        Yeah.

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      1            Q.        Does that relate to opioids?
      2            A.        Yes, it's maternal mortality
      3    and need for OB/GYNs to be more conversant in
      4    the treatment of opioid use disorder to
      5    prevent maternity mortality.
      6            Q.        And do you have any coauthors
      7    on that article?
      8            A.        I do.
      9            Q.        Who are the coauthors?
     10            A.        Marcela Smid, Mishka Terplan,
     11    and Charles Shauberger.
     12            Q.        And is there a particular
     13    place -- strike that.
     14                      Do you know, sitting here
     15    today, where it is going to be published?
     16            A.        At the American Journal of
     17    OB/GYN MFM.
     18            Q.        And will that be published this
     19    year?
     20            A.        Yes.
     21            Q.        Any article that you're
     22    currently working on or publications you're
     23    working on that have not yet been sent out
     24    for publication or are being shopped around
     25    for publication?

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      1            A.        There is one I'm working on on
      2    smoking cessation that I'm still working on.
      3            Q.        Are you working with anyone on
      4    that article?
      5            A.        My former resident.
      6            Q.        Have you ever spoken at any
      7    conferences involving the legal industry?
      8            A.        Involving -- I'm not familiar
      9    with those conferences.
     10            Q.        So you've never been to any
     11    conferences that were put on for lawyers
     12    specifically?
     13            A.        No.
     14            Q.        Are there lawyers, to your
     15    knowledge, that attend the presentations that
     16    you do for the medical community?
     17            A.        I would assume so.
     18            Q.        Is that something that you've
     19    investigated or kept track of?
     20            A.        No.
     21            Q.        So on page 8 of your CV, you
     22    have a -- there's a presentation that you
     23    have listed here a couple of times called
     24    "NAS is temporary; FAS is permanent."
     25                      Do you know which one I'm

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      1    talking about?
      2            A.        Yes.
      3            Q.        Did you read from a prepared
      4    speech, or do you have a PowerPoint or a
      5    visual aid that you would use at that
      6    presentation?
      7            A.        I have a PowerPoint that I
      8    would use, yes.
      9            Q.        And is that updated from
     10    presentation to presentation?
     11            A.        I attempt to, yes.
     12            Q.        Have you maintained a copy of
     13    that presentation?
     14            A.        I do have a copy of that
     15    presentation.
     16            Q.        And who is -- who is the
     17    audience, generally, when you give that
     18    presentation?
     19            A.        It is either obstetrician/
     20    gynecologists or addiction medicine
     21    providers.
     22            Q.        And can you tell me generally
     23    about what your message is or the conclusions
     24    you make in that presentation about NAS being
     25    temporary?

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      1            A.        Yes.    So my conclusions are
      2    that fetal -- or fetal alcohol syndrome is a
      3    permanent, lifelong condition caused by
      4    alcohol use during pregnancy, and it often
      5    coexists with neonatal abstinence syndrome,
      6    so that for the addiction medicine providers,
      7    I am having them focus and looking for
      8    co-occurring alcohol use along with the
      9    opioid use.
     10                      And for the OB/GYNs that
     11    focus -- I'm trying to get them to screen for
     12    alcohol use during pregnancy, which is much
     13    more harmful than opioid use.
     14            Q.        And do you cite to any studies
     15    for the proposition that NAS is temporary?
     16            A.        Yes, there's very many studies
     17    looking at long-term outcomes.              We've had
     18    almost 50 years of experience with methadone.
     19    And when they've looked at the children and
     20    now adults, when you control for other
     21    factors, including co-occurring tobacco use,
     22    alcohol use, poverty, poor diet, systemic
     23    racism, there has been no effects that can be
     24    directly linked to the opioids themselves.
     25            Q.        So, Doctor, can you say to a

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      1    reasonable degree of medical certainty that
      2    NAS is temporary?
      3            A.        I can say that, yes.          It is a
      4    temporary and treatable condition.
      5            Q.        If I'm able to work it out with
      6    Ms. Fujimoto, do you personally have any
      7    objection to sharing that presentation with
      8    me?
      9            A.        I do not.      I think it's
     10    available on the Internet probably.
     11            Q.        Okay.    I appreciate that.
     12                      MS. FUJIMOTO:       And, Mike, we
     13            can work with you off the record on
     14            that request.
     15                      MR. PENDELL:       I appreciate
     16            that.
     17                      Just what I wanted, more
     18            reading material.
     19    QUESTIONS BY MR. PENDELL:
     20            Q.        On page -- also on page 9 --
     21    I'm sorry.      On page 9 of your report -- of
     22    your CV, not your report, there's a 2017
     23    presentation on Opioid Use Disorders During
     24    Pregnancy:      An Update.
     25                      Do you see what I'm talking

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      1    about?
      2            A.        Yes.
      3            Q.        I assume this is a document, a
      4    presentation, that you also maintain in your
      5    files or your records?
      6            A.        Yes, it should be there.
      7            Q.        And what was the update that
      8    you were providing; do you remember?
      9            A.        There was a study in 2016 that
     10    some researchers in Tennessee showed a group
     11    of women who were withdrawn from opioids
     12    showing relative safety, in their words, of
     13    withdrawing the babies -- or sorry, strike
     14    that -- withdrawing the women during
     15    pregnancy from opioids and looking at the
     16    birth outcomes.
     17                      And my update was that it
     18    shouldn't change the standard of care for
     19    treating women with opioid use disorders,
     20    because they didn't look at the babies
     21    afterwards.       And also, the groupings, a lot
     22    of the women were forced to withdraw,
     23    including a quarter of the women were
     24    actually incarcerated.
     25                      So I was giving the update that

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      1    this new study shouldn't really change their
      2    management.
      3            Q.        And same question as before:
      4    Assuming that I am able it work it out with
      5    Ms. Fujimoto, you don't personally have any
      6    objection to sharing that presentation with
      7    you, do you?
      8            A.        I do not.
      9            Q.        One more I wanted to ask you
     10    about, also on page 9, was a 2016
     11    presentation called Emerging Crisis of Opioid
     12    Addiction.
     13                      Do you see that one?
     14            A.        That was the title given by the
     15    HRSA, yes.
     16            Q.        It was given by who?
     17            A.        It was put on by HRSA, and they
     18    asked me to give this webinar.
     19            Q.        What is HRSA?
     20            A.        The Health Resources and
     21    Service Administration.
     22            Q.        And they contacted you and
     23    asked if you would do this presentation on
     24    this topic?
     25            A.        Correct.

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      1            Q.        Is that -- did you have any
      2    prior dealings with HRSA, prior to them
      3    reaching out to you for this particular
      4    topic?
      5            A.        No.
      6            Q.        Do you know how they came about
      7    you or reached out to you specifically?                 Was
      8    it by word?
      9            A.        Probably either through the
     10    American Society of Addiction Medicine or the
     11    American College of Obstetrics and
     12    Gynecology.
     13            Q.        And is that -- was that a
     14    presentation that you still have as well?
     15            A.        I believe so, yes.
     16            Q.        And again, assuming I'm able to
     17    work it out with Ms. Fujimoto, do you
     18    personally have any objection to sharing that
     19    with me?
     20            A.        No, and I believe it's still
     21    available online.
     22            Q.        And can you give me a general
     23    synopsis about the presentation?
     24                      Did you discuss any conclusions
     25    or the cause of the emerging crisis from your

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      1    perspective?
      2                      MS. FUJIMOTO:       Object to form.
      3                      THE WITNESS:       Well, my -- going
      4            back to my recollection, it was mostly
      5            on the need to treat opioid use
      6            disorders and substance use disorders
      7            in general and to broaden the
      8            perspective for the visiting nurses.
      9                      I mean, my feeling is that all
     10            women deserve to have home visiting
     11            after birth, not just opioid or
     12            substance use -- women with substance
     13            use disorder.
     14    QUESTIONS BY MR. PENDELL:
     15            Q.        And, Doctor, from listening to
     16    you talk today and reading all the stuff I've
     17    read about you, fair for me to say you agree
     18    that people with opioid use disorder -- we
     19    can say specifically women -- or pregnant
     20    women with opioid use disorder should be
     21    treated for opioid use disorder, correct?
     22            A.        I believe all people with
     23    substance use disorder, in general, should be
     24    treated.
     25                      (Wright Exhibit 2 marked for

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      1            identification.)
      2    QUESTIONS BY MR. PENDELL:
      3            Q.        Okay.    I'm going to go now to
      4    Exhibit 2.      I'm going to introduce Exhibit 2,
      5    Doctor, which is a copy of your report.
      6                      Looking at your report, Doctor,
      7    page 11, that signature there is yours,
      8    correct?
      9            A.        That is an electronic version
     10    of my signature, correct.
     11            Q.        And is this report a complete
     12    statement of the opinions that you intend to
     13    express in this case, sitting here today?
     14            A.        It is a complete expression of
     15    my opinions, correct.
     16            Q.        Are there any changes or
     17    supplementations that you need to make to
     18    this report, sitting here today?
     19            A.        Not to my knowledge, no.
     20            Q.        Were you asked to make any
     21    assumptions in rendering your opinions in
     22    this report?
     23            A.        I was not asked to -- these are
     24    my opinions.
     25            Q.        On page 12 of your report,

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      1    there is a -- the section that starts
      2    "Materials Considered and/Or Relied Upon."
      3                      Do you see that?
      4            A.        Yes.
      5            Q.        And is this a complete list of
      6    the materials that you considered or relied
      7    on in rendering your opinions in this case?
      8                      MS. FUJIMOTO:       Object to form.
      9                      THE WITNESS:       Well, my opinions
     10            are based on not only my extensive
     11            review of the literature but also from
     12            the 13 years that I've spent taking
     13            care of women with substance use
     14            disorder.      So I can't say that this
     15            is, you know, the complete knowledge
     16            of my head.
     17    QUESTIONS BY MR. PENDELL:
     18            Q.        Sure.
     19                      I appreciate -- setting aside
     20    your experience and, you know, the stuff that
     21    you learned in medical school --
     22                      Am I still on?        Can you still
     23    hear me, everyone?
     24                      MS. FUJIMOTO:       Yes.
     25

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      1    QUESTIONS BY MR. PENDELL:
      2            Q.        Sorry, my thing looked like it
      3    froze up.
      4                      So, Doctor, setting aside your
      5    medical school training and your experience
      6    practicing medicine, focusing on written
      7    materials and things that you reviewed
      8    specifically for -- to render the opinions
      9    that you have in this case, is this a
     10    complete list of the written materials that
     11    you considered or relied upon?
     12            A.        This is a complete list of --
     13    yes, for -- but, again, I can't -- there's a
     14    lot of things in my -- from my experience and
     15    past.
     16            Q.        Any corrections or
     17    supplementations you need to make to the list
     18    of the materials, things that you considered,
     19    sitting here today?
     20            A.        Not that I know of, no.
     21            Q.        And as far as written materials
     22    go, is it fair to say that if a piece of
     23    written literature does not appear on this
     24    list, you did not consider it specifically
     25    for this case?

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      1                      MS. FUJIMOTO:       Object to form.
      2                      THE WITNESS:       Again, there are
      3            many, many things that I have read
      4            over the years that I can't -- that
      5            form the basis of my opinions that I
      6            can't begin to, you know, write them
      7            all down.
      8    QUESTIONS BY MR. PENDELL:
      9            Q.        Is there anything in particular
     10    you can think of that you -- that you would
     11    have relied on because it's in your head that
     12    you did not write down?
     13            A.        Not that I can think of off the
     14    top of my head.
     15            Q.        Did you select these materials
     16    considered yourself?
     17                      MS. FUJIMOTO:       Object to form.
     18                      THE WITNESS:       Some of them I
     19            selected and some were sent to me.
     20    QUESTIONS BY MR. PENDELL:
     21            Q.        They would have been sent to
     22    you by the lawyers, correct?
     23            A.        Correct.
     24            Q.        Are there any documents you
     25    requested from defendant's lawyers that you

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      1    did not receive?
      2            A.        No.
      3            Q.        I wanted to -- on page 3 of
      4    your report, and you can look at this if
      5    you'd like to, but this is a very general
      6    question.      I just wanted to orient you to
      7    where I was getting.
      8                      On page 3 of your report where
      9    it starts to go into substance of your
     10    report, at the top it says, "Dr. Loudin's
     11    report and the opinions oversimplify a
     12    complex and multifactorial problem," and then
     13    in parentheses it says "addiction," "that has
     14    plagued this country for decades."
     15                      Do you see that?
     16            A.        Yes.
     17            Q.        You read Dr. Loudin's report,
     18    correct?
     19            A.        I did read Dr. Loudin's report,
     20    yes.
     21            Q.        Did you read any of the
     22    materials that Dr. Loudin references or
     23    relied upon in that report?
     24            A.        I did not read all of them, but
     25    I did read a great majority of them, yes.

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      1            Q.        Do you recall sitting here
      2    today what ones you read?
      3            A.        I looked at his -- some of his
      4    supplementary things on the -- because some
      5    of the things he quoted, like a 10 percent
      6    rate of women with opioid use disorder in
      7    this country, and I tried to see where that
      8    came from because that number made no sense
      9    to me.
     10            Q.        Can you tell me all the factors
     11    that you believe contribute to the addiction
     12    problem that you say has plagued this country
     13    for years?
     14            A.        I think there -- it's so
     15    multifactorial.        I mean, poverty, but it
     16    really -- systemic racism, the war on drugs.
     17    The former Surgeon General would say our
     18    inability to connect with each other as human
     19    beings, isolation.
     20            Q.        Any others that you can --
     21            A.        Adverse -- sorry, I forgot the
     22    most important one, which is childhood
     23    adverse events.
     24            Q.        Any others you can think of?
     25            A.        Oh, there's many, many others,

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      1    yes, but those are the ones that come off the
      2    top of my head.
      3            Q.        Is the availability of a
      4    particular drug a factor?
      5                      MS. FUJIMOTO:       Object to form.
      6                      THE WITNESS:       Well, I think
      7            that is a factor in all societies,
      8            whatever is -- will -- whatever is
      9            available will be used.
     10    QUESTIONS BY MR. PENDELL:
     11            Q.        And how about societal
     12    acceptance of a particular drug, is that a
     13    factor?
     14                      MS. FUJIMOTO:       Object to form.
     15                      THE WITNESS:       That is
     16            definitely a factor.
     17    QUESTIONS BY MR. PENDELL:
     18            Q.        And in your opinion, how did
     19    Dr. Loudin oversimplify the addiction crisis?
     20            A.        Well, he blamed it all on the
     21    availability of prescription opioids when --
     22    and ignore -- and said that that led to this
     23    addiction crisis, when, you know, the first
     24    drug that's usually used is alcohol or
     25    tobacco.      And people get addicted to very

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      1    many drugs, not just opioids.
      2            Q.        And when Dr. -- in Dr. Loudin's
      3    report, was Dr. Loudin making that -- making
      4    that statement particularly about Huntington
      5    and Cabell County, West Virginia, or was
      6    Dr. Loudin making that statement nationally?
      7                      MS. FUJIMOTO:       Object to form.
      8                      THE WITNESS:       He was making
      9            the -- I believe just from my
     10            recollection, having read the report a
     11            while ago, is that he was making it
     12            both nationally and locally.
     13    QUESTIONS BY MR. PENDELL:
     14            Q.        Did you do any research
     15    specifically about the addiction crisis in
     16    Huntington, in Cabell County, West Virginia?
     17            A.        Other than Dr. Loudin's report
     18    and looking at his data, no.
     19            Q.        Did you read any other expert
     20    reports in this case other than Dr. Loudin's?
     21            A.        Not particularly for this case.
     22                      I don't have any other --
     23            Q.        You may have looked at expert
     24    reports for other opioid cases; is that what
     25    you're telling me?

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      1            A.        Yes.
      2            Q.        But with regards to the West
      3    Virginia -- I'm sorry, the Huntington, West
      4    Virginia, in Cabell County, West Virginia
      5    case today, you only read Dr. Loudin's
      6    report; is that right?
      7            A.        That is correct.
      8            Q.        How about any deposition
      9    transcripts?       Did you read any deposition
     10    transcripts from this case?
     11            A.        I can't recall because they're
     12    blending together with the other case, to be
     13    honest.
     14            Q.        Do you know if Dr. Loudin has
     15    been deposed in this case?
     16            A.        I don't recall.
     17            Q.        So it's fair to say if
     18    Dr. Loudin has been deposed, you probably
     19    didn't read Dr. Loudin's deposition in this
     20    case, correct?
     21            A.        I can't recall, no.
     22            Q.        Have you considered any
     23    additional material following the submission
     24    of this report?
     25            A.        What do you mean, "considered

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      1    any additional material"?
      2            Q.        Sure.
      3                      So after the time that your
      4    report was written and provided to counsel to
      5    produce in this case, I'm just wondering
      6    whether, for example, there are other
      7    articles you went back and read or, you know,
      8    whether you went back and read, you know,
      9    additional materials that Dr. Loudin had
     10    cited that you did not read prior to writing
     11    your report, stuff like that.
     12            A.        I did look at -- like I said, I
     13    was trying to figure out where he got the
     14    10 percent value, so I looked at that, but I
     15    don't remember -- I mean, I read constantly
     16    about opioids, about -- also about all
     17    substances in general, so -- to say, you
     18    know, anything specifically for this report
     19    or not.
     20            Q.        Well, let me ask you -- let me
     21    ask you a slightly different question.
     22                      Have you read anything related
     23    to -- strike that.
     24                      Have you read anything after
     25    the submission of this report that has led

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      1    you to either change your opinions or
      2    strengthen your opinion or change your
      3    opinion in any way?
      4            A.        No.
      5            Q.        Do you have a case file for
      6    this case?      Do you keep a file at home or
      7    something?
      8            A.        I have a file on my computer,
      9    yes.
     10            Q.        So you keep it in your file, so
     11    it's electronic?
     12            A.        Yes.
     13            Q.        What's in the file generally?
     14                      MS. FUJIMOTO:       Object to form.
     15                      THE WITNESS:       Generally the
     16            articles that were sent to me.
     17    QUESTIONS BY MR. PENDELL:
     18            Q.        Anything else?
     19            A.        And -- well, I don't have them
     20    separated out by the cases, so there are some
     21    depositions for the other cases that I've
     22    read.
     23            Q.        Anything else that you can
     24    think of?
     25            A.        Not off the top of my head.

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      1            Q.        Do you know personally or by
      2    reputation any of the other experts disclosed
      3    by the defendants in this case?
      4            A.        I know of -- well, like I said,
      5    it's hard for me to tease out the defendants
      6    for this case and the defendants for the
      7    opioid NAS litigation.
      8            Q.        So let me ask you this.           Let me
      9    ask you a little broader question then.
     10                      Do you know personally or by
     11    reputation any expert disclosed in any of the
     12    opioid cases that you're aware of?
     13            A.        I know Anna Lembke.
     14            Q.        How do you know Dr. Lembke?
     15            A.        I've worked with her for the
     16    American College of Academic Addiction
     17    Medicine.
     18            Q.        How long have you worked with
     19    Dr. Lembke?
     20            A.        I have not personally worked
     21    with her.      I mean, I know her from that, but
     22    I have known her for probably three or four
     23    years.
     24            Q.        So you know her work because of
     25    being on that?

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      1            A.        Yeah.
      2            Q.        Do you have an opinion of
      3    Dr. Lembke?
      4                      MS. FUJIMOTO:       Object to form.
      5                      THE WITNESS:       I think
      6            Dr. Lembke is a -- a good addiction
      7            medicine provider.
      8    QUESTIONS BY MR. PENDELL:
      9            Q.        Have you -- I'm sorry, were you
     10    finished?
     11            A.        Yeah.
     12            Q.        Have you read any of
     13    Dr. Lembke's reports from the opioid cases
     14    that you've been involved with?
     15            A.        I have read her report for the
     16    opioid litigation.
     17            Q.        In Washington?
     18            A.        In Washington, yes.
     19            Q.        Sitting here today, do you
     20    recall anything in the report you read of
     21    hers that you disagree with?
     22                      MS. FUJIMOTO:       Object to form.
     23                      THE WITNESS:       Again, I think
     24            Dr. Lembke, as do all of the
     25            litigation witnesses, tend to

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      1            oversimplify the prescribing of
      2            medications and look at it somewhat
      3            with 20/20 hindsight.
      4    QUESTIONS BY MR. PENDELL:
      5            Q.        And any other opinions, or is
      6    that the only one that stands out?
      7                      MS. FUJIMOTO:       Object to form.
      8                      THE WITNESS:       That's the one
      9            that stands out right now.
     10    QUESTIONS BY MR. PENDELL:
     11            Q.        Sitting here today, do you know
     12    if you plan to use any demonstratives at
     13    trial?
     14            A.        What do you mean by
     15    "demonstratives"?
     16            Q.        Like a PowerPoint presentation
     17    or a graph that, you know, you'd use to
     18    supplement your testimony or to illustrate
     19    your testimony?
     20            A.        Not -- not -- no.
     21            Q.        Have you met with or spoken to
     22    any other expert witnesses in this case?
     23            A.        I have not.
     24            Q.        How about experts from the
     25    Washington opioid case, have you met with or

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      1    spoken to any of them?
      2            A.        Not regarding this case, no.
      3            Q.        And you did not speak with or
      4    meet with any other lawyers representing
      5    Cardinal Health or ABDC in this case,
      6    correct?
      7            A.        Not to my knowledge, no.
      8            Q.        Did you meet with or speak to
      9    any fact witnesses in this case?
     10            A.        Not to my knowledge, no.
     11            Q.        And you did not speak to any
     12    medical professionals in Huntington or Cabell
     13    County, West Virginia, that treat pregnant
     14    women with OUD, correct?
     15            A.        Not in those particular
     16    counties, no.
     17            Q.        Have you done so anywhere in
     18    the state of West Virginia?
     19            A.        Not regarding this case.           I do
     20    know a provider from West Virginia.
     21            Q.        And who is the provider you
     22    know from West Virginia?
     23            A.        I work with him on the FASDH
     24    champions.      I don't recall his name off the
     25    top of my head.

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       1            Q.        Do you recall the last time you
       2    spoke with that provider?
       3            A.        It was a couple of years ago.
       4            Q.        Have you spoken with any
       5    medical professionals in Huntington or Cabell
       6    County, West Virginia, that deliver babies
       7    born with opioid-related NAS?
       8            A.        I have not talked to anybody
       9    recently.
     10             Q.        Have you spoken to anyone in
     11     Huntington or Cabell County, West Virginia,
     12     that provide medical care for children born
     13     with opioid-related NAS?
     14             A.        I have not, no.
     15             Q.        Have you spoken with any
     16     medical professionals in Huntington or Cabell
     17     County, West Virginia, at all?
     18             A.        Not to my knowledge.
     19             Q.        Anybody else you spoke to or
     20     met with about this case or the opioid cases
     21     in general that I have not already asked you
     22     about?
     23             A.        No, not to my knowledge.
     24             Q.        Do you plan to be at trial in
     25     October?

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       1            A.        Well, it depends.         I'm not
       2    allowed to -- it depends on the situations
       3    and COVID.      I'm not allowed to have
       4    nonessential travel, based on my employment.
       5            Q.        Understood.
       6                      And now you've got those
       7    terrible fires to deal with about, so, crazy.
       8                      What, if any -- well, strike
       9    that.
     10                       Is there any information that
     11     you're aware of, sitting here today, that you
     12     did not have, that you need, to give your
     13     opinions at trial?
     14             A.        Not that I'm aware of, no.
     15             Q.        Is there any information that
     16     you do not have, sitting here today, that
     17     would strengthen or weaken your opinions?
     18             A.        No, not that I'm aware of.
     19             Q.        Are there any facts you can
     20     think of you did not have at the time you
     21     wrote this report that would influence or
     22     change your opinions?
     23             A.        Not that I know of, no.
     24             Q.        And, Doctor, can you say to a
     25     reasonable degree of medical certainty that

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       1    opioid-related NAS does not cause permanent
       2    harm or developmental delays?
       3                      MS. FUJIMOTO:       Object to form.
       4                      THE WITNESS:       I can say with
       5            reasonable medical certainty that
       6            there -- the developmental delays
       7            that -- or problems that might be seen
       8            are multifactorial and not just
       9            secondary to opioids and secondary to
     10             many other factors, including poverty,
     11             smoking, alcohol and other substances.
     12     QUESTIONS BY MR. PENDELL:
     13             Q.        Is the science on this issue
     14     settled, or is it still emerging?
     15                       MS. FUJIMOTO:       Object to form.
     16                       THE WITNESS:       I would say the
     17             science -- we've known and studied
     18             babies with neonatal abstinence
     19             syndrome for over 50 years, and I
     20             think the science is pretty settled
     21             that it is multifactorial.
     22     QUESTIONS BY MR. PENDELL:
     23             Q.        Well, let me ask you this:
     24     When you say that we studied babies with NAS
     25     for 50 years, have we specifically studied

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       1    babies with opioid-related NAS for 50 years?
       2                      MS. FUJIMOTO:       Object to form.
       3                      THE WITNESS:       Yes.    I mean, the
       4            treatment of opioid use disorders with
       5            methadone has been used for pregnant
       6            women for over 50 years, and we have
       7            over 50 years of looking at those
       8            children.
       9    QUESTIONS BY MR. PENDELL:
     10             Q.        Has the science related to
     11     opioid-related NAS been as thorough or robust
     12     as the science related to tobacco-related
     13     development issues with regards to infants?
     14                       MS. FUJIMOTO:       Object to form.
     15                       THE WITNESS:       Well, I think --
     16             I think tobacco-related developmental
     17             issues is still also being studied.
     18     QUESTIONS BY MR. PENDELL:
     19             Q.        Is the science as robust for
     20     opioid-related NAS as it is for fetal alcohol
     21     syndrome?
     22                       MS. FUJIMOTO:       Object to form.
     23                       THE WITNESS:       Again, we have a
     24             lot of information on fetal alcohol
     25             syndrome and has shown much more

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       1            deleterious effects than opioid use
       2            disorders.
       3    QUESTIONS BY MR. PENDELL:
       4            Q.        It's also been more studied,
       5    hasn't it, Doctor?
       6                      MS. FUJIMOTO:       Object to form.
       7                      THE WITNESS:       I think alcohol
       8            use disorders has been studied and
       9            fetal alcohol syndrome has been
     10             studied, but so has opioid use
     11             disorders.
     12     QUESTIONS BY MR. PENDELL:
     13             Q.        Yes, but fetal alcohol syndrome
     14     has been studied more than opioid-related
     15     NAS, correct?
     16                       MS. FUJIMOTO:       Object to form.
     17                       THE WITNESS:       Again, because it
     18             is a specific syndrome, whereas there
     19             is no specific syndrome for opioid use
     20             disorders, NAS, opioid-related NAS.
     21     QUESTIONS BY MR. PENDELL:
     22             Q.        That's yes, correct?
     23             A.        I'm not stating yes, no.
     24             Q.        You're not saying -- so are you
     25     saying no?

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       1            A.        I -- restate your question.
       2                      And I am saying that the -- the
       3    science has been studied for many years.
       4    There is a lot of information on
       5    opioid-related NAS and the long-term effects.
       6    There is a lot of studies looking at fetal
       7    alcohol syndrome and their long-term effects.
       8    And we know for a fact that fetal alcohol
       9    syndrome is much more deleterious to the
     10     developing fetal brain.
     11             Q.        And so my question was:           Do you
     12     agree that the research and science on FAS is
     13     more robust and deeper than the science and
     14     study on opioid-related NAS?
     15                       MS. FUJIMOTO:       Object to form.
     16                       THE WITNESS:       I do not agree
     17             with that.
     18     QUESTIONS BY MR. PENDELL:
     19             Q.        Doctor, although you provide
     20     a -- the materials -- on the materials
     21     considered relied on at the end of your
     22     report, there's no citations in your report
     23     to point me to where you're getting the
     24     information that you're producing.
     25                       So if we look, for example, on

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       1    page 6 of your report, the very first full
       2    paragraph, that first sentence you say,
       3    "Women who are prescribed opioids for acute
       4    pain and even chronic pain, while pregnant or
       5    otherwise, and who do not have another
       6    substance use disorder, including tobacco,
       7    will have a low risk of developing an opioid
       8    use disorder.       One study showed that for
       9    women who had a cesarean section and were
     10     prescribed opioids, the risk of developing an
     11     opioid use disorder is approximately 1 in
     12     300."
     13                       Do you see where I'm reading
     14     from?
     15             A.        Yes.
     16             Q.        Aside from reading every line
     17     of all the documents that you have on your
     18     reliance list, is there a way for me to
     19     figure out where that came from?
     20             A.        I could tell you it was -- I'm
     21     looking through the list.            I can't tell you
     22     off the top of my head, but I know that it
     23     was a study on opioid use disorders after
     24     prescribing -- after prescriptions of -- and
     25     I believe it was probably cited in the Ecker

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       1    study and also -- because it was Brian
       2    Bateman whose work that is.
       3            Q.        Similarly on page 7, it's the
       4    third sentence of the second full paragraph
       5    where it says, "Among women who had an OUD
       6    during pregnancy, up to 97 percent also use
       7    tobacco."
       8                      Do you see that?
       9            A.        Yes.
     10             Q.        Do you know what material that
     11     statement came out of?
     12             A.        That is from different
     13     treatment facilities.          I know from my own --
     14     you know, just talking to other treatment
     15     facilities, I know for my own treatment it
     16     was about 67 percent, and so that would have
     17     been my own study.         But some other opioid
     18     treatment centers have quoted up to
     19     97 percent.
     20                       So, again, this is my own
     21     knowledge.
     22             Q.        So my question is -- I mean, so
     23     is there a reason why you didn't provide
     24     citations in the report?           Because I mean,
     25     I --

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       1            A.        I was --
       2            Q.        Go ahead.
       3            A.        I was counseled by my --
       4                      MS. FUJIMOTO:       Objection.
       5                      THE WITNESS:       -- counsel to --
       6                      MS. FUJIMOTO:       Wait.     Wait.
       7            Wait.     I'm going to object to form.
       8                      THE WITNESS:       Okay.
       9                      MS. FUJIMOTO:       And -- okay?
     10             I'm going to object to form, Mike.
     11             You know there's no obligation on
     12             that.
     13                       But go ahead, Tricia, and do
     14             not disclose any conversations with
     15             counsel.
     16                       THE WITNESS:       Okay.
     17     QUESTIONS BY MR. PENDELL:
     18             Q.        So I assume that you're not
     19     going to be able to answer my question then,
     20     correct?
     21             A.        Correct.
     22             Q.        So how am I supposed to know,
     23     looking at your report, what came from a
     24     study and what is based on your experience?
     25             A.        Well, I thought you read

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       1    everything.
       2            Q.        Well, I read a lot of stuff.             I
       3    read all the stuff that you have quoted --
       4    or, I'm sorry, that you cited on your
       5    reliance materials, but I can't find some of
       6    that stuff in there.
       7                      So I assume if I can't find it
       8    in what you provided, you're basing it on
       9    your personal experience; is that right?
     10                       MS. FUJIMOTO:       Object to form.
     11                       THE WITNESS:       My personal
     12             experience.       And like I said at the
     13             beginning, I can't begin to quote all
     14             of the studies that I have read over
     15             the course of my lifetime.
     16     QUESTIONS BY MR. PENDELL:
     17             Q.        You understand, though, that
     18     under the rules that as plaintiff -- the
     19     plaintiffs have a right to understand what it
     20     is that is the basis or forms the basis of
     21     your opinion.
     22                       You understand that, correct?
     23             A.        Correct.
     24                       And like I said, I have been
     25     doing this for 13 years and have many things

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       1    that form the basis of my opinion that I
       2    can't particularly cite.
       3                      MS. FUJIMOTO:       And let me just
       4            interject and state for the record,
       5            Mike, that you know that there is no
       6            requirement that every sentence or
       7            opinion be footnoted, particularly in
       8            situations where numerous studies can
       9            support numerous different opinions
     10             with lots of different data points.
     11                       She provided the materials
     12             reviewed list and has explained what
     13             that was intended to capture.
     14                       MR. PENDELL:       I appreciate the
     15             speaking objection, but you also know
     16             that there's not a single citation
     17             anywhere in this report to anything.
     18             Not one.
     19                       MS. FUJIMOTO:       Yes.    And there
     20             is no obligation that that be done.
     21             And it's particularly appropriate when
     22             opinions can be supported by various
     23             many studies and in different
     24             respects, given the circumstances and
     25             subject matter of the opinion.

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       1                      So I'm just objecting to the
       2            suggestion that somehow there was an
       3            obligation to provide footnotes and
       4            citations to every statement or
       5            opinion, because that's not the case.
       6                      MR. PENDELL:       So I think -- I
       7            think -- I think the correct objection
       8            is "objection to form," period.              I
       9            think that's --
     10                       MS. FUJIMOTO:       Well, that's
     11             what I've been doing, Mike, until you
     12             got into this --
     13                       MR. PENDELL:       I don't need you
     14             to explain to me your interpretation
     15             of the rules or what you think the
     16             rules require.
     17     QUESTIONS BY MR. PENDELL:
     18             Q.        Because what we can do, Doctor,
     19     is I can go through this report line by line,
     20     and after every sentence ask you whether or
     21     not that is based on one of the reliance
     22     materials that you have in the back of your
     23     report or whether or not that's anecdotal
     24     evidence based on your experience through the
     25     years.

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       1                      I'd prefer not to do that
       2    because we'll be here all day.
       3                      So I'm just trying to figure
       4    how I or anybody else in this case is
       5    supposed read your report and figure out what
       6    is based on actual literature and studies
       7    versus what you are anecdotally saying based
       8    on your observations.
       9                      Is there a way for anybody to
     10     do that, looking at your report?
     11                       MS. FUJIMOTO:       Besides looking
     12             at her materials reviewed list?
     13                       MR. PENDELL:       The question is
     14             for the doctor, Ms. Fujimoto.
     15                       MS. FUJIMOTO:       Object to form.
     16                       THE WITNESS:       I am saying that
     17             many studies form the basis of my
     18             opinions, and it is hard to come up
     19             with one specific study when many
     20             studies show this.
     21     QUESTIONS BY MR. PENDELL:
     22             Q.        And in some instances, you did
     23     not come up with any studies to show this?
     24                       MS. FUJIMOTO:       Object to form.
     25                       THE WITNESS:       In some instances

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       1            if there is no studies that -- that --
       2            or many, many studies that support
       3            this, it comes up with the basis of my
       4            opinion, or it is from my experience
       5            from treating the women that I treat.
       6    QUESTIONS BY MR. PENDELL:
       7            Q.        And again, just looking at the
       8    face of your report, there's no way for us to
       9    distinguish which statement is based on many,
     10     many studies versus what you have seen
     11     anecdotally in your practice, correct?
     12                       MS. FUJIMOTO:       Object to form.
     13                       THE WITNESS:       I usually have
     14             said that studies have shown versus if
     15             it is from my experience, I have cited
     16             specific instances.
     17     QUESTIONS BY MR. PENDELL:
     18             Q.        All right.      So let's look at
     19     page 8 of your report.           It's the second full
     20     paragraph, the sixth sentence of that
     21     paragraph.
     22                       Let me know when you're there,
     23     Doctor.
     24             A.        Is this -- I don't have line
     25     numbers on mine.        "The timing of" -- the

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       1    paragraph starting "The timing of drug
       2    exposure"?
       3            Q.        So, yeah, it starts -- correct.
       4    And the sentence I'm particularly focused on
       5    says, "The great majority of studies looking
       6    at the relationship with opioid exposure and
       7    birth defects have found no association with
       8    NAS or opioid exposure."
       9                      Do you see that?
     10             A.        Yes.
     11             Q.        Can you name for me the studies
     12     you're referring to here?
     13             A.        There are many, many studies
     14     that have shown this when they are controlled
     15     for the opioid exposure.           There's too many to
     16     name here.
     17             Q.        Can you name me a single study?
     18     I just want the name of one.
     19             A.        I can go -- you know, if you
     20     look through the Ecker study, that would have
     21     a list -- because that's a pretty large
     22     paper, that would have a list of studies
     23     looking at opioid exposure and birth defects.
     24             Q.        I don't want to look at the
     25     Ecker study.       I want to know whether you,

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       1    sitting here today, can name for me a single
       2    study for that proposition.
       3                      MS. FUJIMOTO:       Object to form.
       4            She just named Ecker.
       5                      MR. PENDELL:       No, I think she
       6            said that I could look at Ecker to
       7            find those studies.
       8    QUESTIONS BY MR. PENDELL:
       9            Q.        I'm wondering whether you can
     10     name for me one of those studies.
     11             A.        Through my --
     12                       MS. FUJIMOTO:       Object to form.
     13                       Go ahead.
     14                       THE WITNESS:       I'm looking
     15             through the source materials to find
     16             you something.
     17                       I would go with Beth Logan's
     18             study.     I would go with Merhar's
     19             study.
     20     QUESTIONS BY MR. PENDELL:
     21             Q.        I'm sorry, Doctor, are you
     22     done?    I didn't know if you were still
     23     thinking or --
     24             A.        I was just looking at the --
     25     and Jarlenski's study.

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       1            Q.        Okay.    Similarly on page 5 of
       2    your report?
       3            A.        Uh-huh.
       4            Q.        First sentence of the second --
       5    so you see the heading that says, "Women who
       6    use opioids and other substances during
       7    pregnancy are a diverse group"?
       8            A.        Yes.
       9            Q.        The first sentence of that
     10     second paragraph where it says, "The majority
     11     of women who use opioids during pregnancy
     12     have polysubstance use or misuse, meaning
     13     they use or misuse a number of different
     14     substances during their pregnancy."
     15                       Do you see that?
     16             A.        Yes.
     17             Q.        Is there a particular study you
     18     were getting that from, or is that based on
     19     your clinical practice?
     20                       MS. FUJIMOTO:       Object to form.
     21                       THE WITNESS:       Again, my
     22             clinical practice and many, many
     23             studies, including looking at Loudin's
     24             report.     He specifically, throughout
     25             his report, states that the majority

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       1            of women use polysubstances.
       2    QUESTIONS BY MR. PENDELL:
       3            Q.        Doctor, what is the MOTHER
       4    study?     Are you familiar with the MOTHER
       5    study?
       6            A.        I am familiar with the MOTHER
       7    study.
       8            Q.        What can you tell me about that
       9    study?
     10             A.        It is a double-blinded,
     11     randomized, controlled trial of methadone
     12     versus buprenorphine for the treatment of
     13     opioid use disorder and the relationship
     14     that -- the primary outcome was the
     15     occurrence of NAS and need for treatment for
     16     NAS.
     17             Q.        And you cited that study
     18     because -- strike that.
     19                       Doctor, do you believe that
     20     that study supports the opinions you're
     21     offering in this case?
     22             A.        I believe that, yes -- well,
     23     the original study was just about the
     24     incidence of NAS, but they have done
     25     long-term outcomes based on that study, yes,

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       1    which form some of the basis of my opinions.
       2            Q.        So on page 6 of your report,
       3    Doctor, there is -- I'm sorry, strike that.
       4    I've lost my place.
       5                      On page 9 of your report, there
       6    is a -- let me find that for you.               It's
       7    the -- starting the very first full sentence
       8    on the page where it says, "Because of the
       9    variability of the symptoms."
     10                       Are you following me?
     11             A.        Yes.
     12             Q.        "In the largely unfounded fear
     13     of severe consequences, the majority of
     14     infants in this country have traditionally
     15     been overtreated, usually in the neonatal
     16     intensive care units, which is expensive and
     17     in most cases unnecessary and
     18     counterproductive."
     19             A.        Yes.
     20             Q.        "More recently, the protocols
     21     for hospitals have been changing, leading to
     22     a lot fewer infants needing treatment.                 These
     23     new protocols rely on keeping mothers and
     24     infants together, which require a mom be
     25     healthy enough to care for the infant and

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       1    thus being treated for her own medical
       2    condition, either the chronic pain or the
       3    opioid use disorder."
       4                      What materials are you relying
       5    on for this statement or these series of
       6    statements?
       7            A.        Again, from my experience and
       8    then also -- even in Loudin's report, he
       9    talks about the different protocols that he
     10     has been using in getting patients out of the
     11     neonatal intensive care for the treatment of
     12     NAS.    The studies out of Yale support this.
     13     So it's not just one study; it's many
     14     studies.
     15             Q.        And, Doctor, isn't it true it's
     16     not that these babies don't need treatment,
     17     it's just that they -- that fewer of them
     18     require medication?
     19                       MS. FUJIMOTO:       Object to form.
     20                       THE WITNESS:       Correct.     And the
     21             treatment is keeping moms and babies
     22             together and nonpharmacologic
     23             treatment.
     24     QUESTIONS BY MR. PENDELL:
     25             Q.        Mom is the medicine in this

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       1    situation, right?
       2            A.        Correct.
       3            Q.        Have you heard that saying
       4    before, mom is the medicine?
       5            A.        Yes.
       6            Q.        Doctor, in your clinical
       7    practice, you keep medical records of your
       8    patients, correct?
       9            A.        Correct.
     10             Q.        You practice to keep accurate
     11     records, correct?
     12             A.        Correct.
     13             Q.        And you would never put
     14     something in one of your patient's records
     15     that you did not believe to be true, correct?
     16             A.        Correct.
     17             Q.        So if you wrote a diagnosis in
     18     one of your patient's records, it's because
     19     you believed, based on your medical
     20     expertise, your training, your experience and
     21     your personal integrity that it was an
     22     accurate diagnosis; is that fair?
     23             A.        That is fair.
     24             Q.        And you'd have no reason to do
     25     otherwise; isn't that right?

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       1            A.        That is correct.
       2            Q.        You don't create records for
       3    your patients for the purpose of future
       4    litigation, correct?
       5            A.        No, I keep records for my
       6    patients for -- no.          Why would I do that?
       7            Q.        You don't create records for
       8    the purpose of some future medical study,
       9    correct?
     10             A.        No.
     11             Q.        Your goal is to be accurate
     12     because you're treating a human being and you
     13     want to do the best job possible; isn't that
     14     right?
     15             A.        Correct.
     16             Q.        And you agree with me that the
     17     vast majority of treating physicians follow
     18     those same standards and practices that we
     19     just talked about, right?
     20             A.        That is correct.
     21             Q.        What's an ICD-9 or -- let me do
     22     this.    What's an ICD-9/10 code?
     23             A.        That is a billing code.
     24             Q.        What -- and what is the purpose
     25     of using the ICD-9 or 10 codes?

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       1            A.        That is a billing code so that
       2    the physician or practitioner can be paid by
       3    the insurance company.
       4            Q.        Okay.    And do you treat
       5    Medicare or Medicaid patients in your
       6    practice ever?
       7            A.        I do.
       8            Q.        And you understand that when
       9    treating a Medicare patient or a Medicaid
     10     patient -- are you required by law to use the
     11     ICD-9/10 code system?
     12             A.        I am.
     13             Q.        And you understand that
     14     Medicare and Medicaid rely on the ICD-9/10
     15     codes, correct?
     16             A.        Yes.
     17             Q.        And when you use those codes,
     18     you try to be accurate when you use them; is
     19     that correct?
     20             A.        I try to be accurate as much as
     21     possible.      Some of the codes don't match up
     22     to the diagnosis, and I think I said that in
     23     the report.
     24                       There is an obligation to be
     25     accurate; however, if the code is not

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       1    existent -- or some physicians don't put the
       2    whole code in because of fatigue and other
       3    reasons.
       4                      So there are a lot of reasons
       5    not -- that they are not complete, and that
       6    was my point when I made that in the -- in
       7    the report.
       8            Q.        In your experience, does
       9    Medicare or Medicaid reimburse for doctors
     10     when their ICD-9 or 10 codes are not
     11     complete?
     12             A.        There are some ICD-9 codes and
     13     10 codes that are not reimbursed, correct.
     14             Q.        So in order to get reimbursed,
     15     a doctor would have to complete that portion
     16     of the paperwork, correct?
     17             A.        That is correct.
     18                       MR. PENDELL:       I'm getting
     19             pretty close to the end, Ms. Fujimoto,
     20             if you want to just keep going.              I
     21             figure we can be done in ten minutes
     22             unless you want to take a break.               Or,
     23             Doctor, if you would like to take a
     24             break, we can do that, but we're
     25             getting pretty close.

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       1                      THE WITNESS:       Okay.
       2                      MS. FUJIMOTO:       Dr. Wright, if
       3            you're good to finish it up, I am,
       4            too.
       5                      THE WITNESS:       Yeah, I'm fine.
       6    QUESTIONS BY MR. PENDELL:
       7            Q.        Doctor, have you ever
       8    personally ever taken a prescription opioid?
       9                      MS. FUJIMOTO:       Object to form.
     10                       THE WITNESS:       I have been
     11             prescribed opioids.          I have taken them
     12             for -- after a surgery.
     13     QUESTIONS BY MR. PENDELL:
     14             Q.        Have you ever taken them for a
     15     chronic condition?
     16             A.        No.
     17             Q.        Have you ever known anyone who
     18     became addicted to opioids that started on a
     19     prescription opioid?
     20                       MS. FUJIMOTO:       Object.     Form.
     21                       THE WITNESS:       I mean, I've
     22             treated patients that have started
     23             misusing prescription opioids, but
     24             generally not something that I have
     25             prescribed them for.

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       1                      Yes, it is something that is --
       2            it happens.
       3    QUESTIONS BY MR. PENDELL:
       4            Q.        And have you ever spoken to a
       5    patient that you've treated who was using
       6    heroin that told you they started down the
       7    road to heroin first from prescription
       8    opioids?
       9                      MS. FUJIMOTO:       Object.     Form.
     10                       THE WITNESS:       Again, usually
     11             they start with something else besides
     12             prescription opioids.
     13     QUESTIONS BY MR. PENDELL:
     14             Q.        Okay.    Like what?
     15             A.        Like alcohol.
     16             Q.        Have any of them ever tied
     17     their use of heroin to their use of
     18     prescription opioids?
     19                       MS. FUJIMOTO:       Object to form.
     20                       THE WITNESS:       Yes.
     21     QUESTIONS BY MR. PENDELL:
     22             Q.        You've heard that before?
     23             A.        I have heard that from a few
     24     patients, not the majority.            The majority use
     25     other substances first, including alcohol and

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       1    tobacco.
       2            Q.        And with regards to that
       3    majority you're talking about that have used
       4    alcohol or tobacco, have they gone from
       5    alcohol or tobacco straight to heroin, or was
       6    there prescription opioids in between?
       7                      MS. FUJIMOTO:       Object to form.
       8                      THE WITNESS:       There has been
       9            both.
     10     QUESTIONS BY MR. PENDELL:
     11             Q.        And what's the percentage of
     12     folks who went straight to heroin after using
     13     tobacco that -- that -- versus the amount of
     14     folks that went from tobacco to prescription
     15     opioids to heroin?
     16                       MS. FUJIMOTO:       Object to form.
     17                       THE WITNESS:       I don't know off
     18             the top of my head.
     19     QUESTIONS BY MR. PENDELL:
     20             Q.        Pretty unusual, Doctor, for
     21     someone to wake up one morning and just
     22     decide they're going to shoot heroin, isn't
     23     it?
     24             A.        It's not unheard of.
     25             Q.        It may not be unheard it, but

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       1    it's pretty unusual, isn't it?
       2            A.        It's not -- not where I am now,
       3    no.
       4            Q.        So how many patients do you
       5    have that have OUD that had never touched an
       6    opioid in their life and just started
       7    shooting heroin?
       8                      MS. FUJIMOTO:       Object to form.
       9                      THE WITNESS:       Again, I don't
     10             know off the top of my head, but there
     11             is a percentage that go from alcohol,
     12             tobacco, cannabis and then heroin
     13             without going to prescription opioids.
     14     QUESTIONS BY MR. PENDELL:
     15             Q.        Do you keep track of that
     16     number?
     17             A.        I do not keep track of that
     18     number, no.
     19             Q.        Does anyone associated with the
     20     University of California that you know of
     21     keep track of that number?
     22             A.        I'm sure someone does.          It's a
     23     very big institution.
     24             Q.        Have you ever read any studies
     25     regarding the correlation of pills to heroin?

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       1            A.        I have seen some studies, yes.
       2            Q.        Let me ask you:        When you say
       3    you've seen some studies, what do you mean by
       4    that?
       5            A.        I've read some studies, yes.
       6    I've read some studies otherwise, too.
       7            Q.        Is that -- what area of
       8    medicine would you consider that?               Is that
       9    epidemiology?
     10                       MS. FUJIMOTO:       Object.     Form.
     11                       THE WITNESS:       I mean, there's
     12             studies in -- that use epidemiology in
     13             medicine.      I would say there are
     14             studies in other areas of medicine
     15             that -- yeah, restate the question,
     16             please.
     17     QUESTIONS BY MR. PENDELL:
     18             Q.        Sure.
     19                       I was just wondering -- I was
     20     asking you questions about whether you've
     21     seen any studies related to the correlation
     22     between prescription opioids and heroin.
     23                       You said yes, you'd seen some.
     24     We talked about that.
     25                       And then I was asking you

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       1    what area of specialty would be involved in a
       2    study like that, whether it was
       3    epidemiologists.
       4                      MS. FUJIMOTO:       Object to form.
       5                      THE WITNESS:       Yes,
       6            epidemiologists are usually involved
       7            in kind of -- in that sort of studies.
       8                      But my point, and I was getting
       9            lost in it, is that other medical
     10             specialties besides epidemiology do
     11             those kind of studies, and not
     12             necessarily with the scientific rigor
     13             of an epidemiologist.
     14     QUESTIONS BY MR. PENDELL:
     15             Q.        Have you ever done one of those
     16     studies?
     17             A.        Not on prescription opioids,
     18     but I have done studies looking at some of
     19     the incidence of opioid use disorders -- or
     20     not opioid use, of substance use disorders.
     21             Q.        But none specifically focused
     22     on the correlation between prescription
     23     opioids and heroin?
     24             A.        No.   I have not myself.
     25             Q.        Doctor, do you believe that

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       1    there is an opioid addiction crisis in the
       2    country right now?
       3                      MS. FUJIMOTO:       Object to form.
       4                      THE WITNESS:       There is a --
       5            there is a current -- I mean,
       6            addiction is a constant throughout our
       7            country.      Currently, there is more
       8            opioids than other substances.
       9            However, you know, the great majority
     10             of people with addiction use alcohol
     11             and tobacco and cannabis.
     12                       So to say that it's all a
     13             crisis of opioids when it's
     14             multi-substances -- and various
     15             substances throughout the course of
     16             history have gone up and down.
     17                       Where I was in Hawaii, it was
     18             more methamphetamines, and same with
     19             here in California.
     20     QUESTIONS BY MR. PENDELL:
     21             Q.        Are there more people abusing
     22     opioids today than there were 20 years ago?
     23                       MS. FUJIMOTO:       Object to form.
     24                       THE WITNESS:       I think that's
     25             debatable because it's gone down and

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       1            up.    And I think the current attention
       2            being forced on it, I would actually
       3            say, is a form of racism because it's
       4            affected white people, whereas before
       5            it was affecting communities of color.
       6    QUESTIONS BY MR. PENDELL:
       7            Q.        So is it your position that the
       8    opioid crisis in America right now is only
       9    affecting white people?
     10                       MS. FUJIMOTO:       Object to form.
     11                       THE WITNESS:       I didn't say
     12             that.
     13     QUESTIONS BY MR. PENDELL:
     14             Q.        And I'm just trying to
     15     understand --
     16             A.        I said that it was getting
     17     attention because it was affecting white
     18     people.
     19             Q.        I'm just trying to understand
     20     what it is you're saying.            So I'm not trying
     21     to imply anything, Doctor; I'm just trying to
     22     understand what it is you're trying to say.
     23                       So to summarize, so I
     24     understand I -- so that I understand what
     25     you're saying is that the reason it's getting

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       1    attention is because it's also affecting
       2    white communities; is that fair?
       3            A.        Correct.
       4            Q.        Do you believe that the
       5    pharmaceutical industry is at least partly to
       6    blame for the opioid crisis of the last
       7    decade or so?
       8                      MS. FUJIMOTO:       Object to form.
       9                      THE WITNESS:       Again, it's
     10             multifactorial.        I think there was
     11             many things contributing to what we
     12             look in retrospect as an
     13             overprescription, including the drug
     14             manufacturers, including JCO,
     15             including the loss of jobs in West
     16             Virginia and other places.
     17                       So I don't think it's one
     18             person or one company or one industry
     19             to blame.
     20     QUESTIONS BY MR. PENDELL:
     21             Q.        Do you believe that the opioid
     22     distributors played any part?
     23                       MS. FUJIMOTO:       Object to form.
     24                       THE WITNESS:       Again, it's
     25             multifactorial and it's hard to say,

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       1            you know.
       2                      Distributors, I don't think,
       3            have any say in who gets prescribed
       4            opioids, and they are just doing
       5            their -- you know, like I said,
       6            opioids are -- distributors have no
       7            say in who gets prescribed it.
       8    QUESTIONS BY MR. PENDELL:
       9            Q.        They have a saying where the
     10     opioids get shipped though, don't they?
     11             A.        I think they have --
     12                       MS. FUJIMOTO:       Object to form.
     13                       THE WITNESS:       -- an obligation
     14             to ship the opioids to where they're
     15             requested.
     16     QUESTIONS BY MR. PENDELL:
     17             Q.        Do you believe they have an
     18     obligation to follow the law?
     19             A.        I think everybody has the
     20     obligation to follow the law.             So I don't
     21     have any comment on the specifics of that in
     22     regards to this case because I'm not a
     23     lawyer.
     24             Q.        And you've not done any
     25     research into what specifically McKesson was

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       1    alleged to have done in West Virginia,
       2    correct?
       3            A.        That is correct.
       4            Q.        You've never been to
       5    Huntington, West Virginia, have you?
       6            A.        I have not been to Huntington,
       7    West Virginia.
       8            Q.        How about Cabell County, have
       9    you ever been there?
     10             A.        Not to my knowledge.          I drove
     11     through West Virginia.
     12             Q.        How long ago was that?
     13             A.        Oh, about 20, 25 years ago.
     14             Q.        Do you know whether there is an
     15     opioid addiction crisis in Huntington, West
     16     Virginia, sitting here today?
     17             A.        Well, I've -- from what I've
     18     read from the -- Dr. Loudin's report and from
     19     what I've seen, there's a perceived opioid
     20     crisis there.
     21             Q.        Do you have any knowledge or
     22     information to refute that position or that
     23     statement?
     24                       MS. FUJIMOTO:       Object to form.
     25                       THE WITNESS:       I'm sorry, I

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       1            don't -- I don't understand.
       2    QUESTIONS BY MR. PENDELL:
       3            Q.        Sure.
       4                      I think you had said something
       5    along the lines that based on what you read
       6    in Dr. Loudin's report, that's the assertion
       7    that's being made, that there's an opioid
       8    crisis in Huntington, West Virginia.
       9                      And my question is, do you have
     10     any specific information to refute that
     11     assertion?
     12                       MS. FUJIMOTO:       Object to form.
     13                       THE WITNESS:       Again, I can only
     14             go with what I've read from
     15             Dr. Loudin's report and the facts that
     16             have been given there.
     17     QUESTIONS BY MR. PENDELL:
     18             Q.        Same answer for Cabell County?
     19             A.        Yes.
     20             Q.        Doctor, do you use Twitter?
     21             A.        I do.
     22             Q.        What's your Twitter handle?
     23             A.        TRICIAEWRIGHTMD.
     24             Q.        And do you ever re-tweet other
     25     people's posts?

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       1            A.        I do.
       2            Q.        What's the purpose of doing
       3    that?
       4            A.        Usually to amplify, not always
       5    to agree, but to amplify what they've said.
       6            Q.        What does that mean, amplify?
       7            A.        Just to get it out to a broader
       8    audience.
       9            Q.        And if you re-tweet another
     10     person's post without comment, does that mean
     11     you're agreeing with the post or endorsing
     12     the post or --
     13             A.        Generally, yes.        Sometimes I
     14     hit the wrong button, and you can't un --
     15             Q.        Yeah.
     16                       Do you use Instagram for
     17     professional reasons?
     18             A.        No, not professionally.           I have
     19     an account, but I rarely go on it.
     20                       MR. PENDELL:       Ms. Fujimoto, if
     21             we could just take five minutes, I
     22             just want to consult with my
     23             colleagues, and we may be done.
     24                       MS. FUJIMOTO:       Sure.     Sure.
     25                       VIDEOGRAPHER:       1:24, we are off

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       1            the video record.
       2             (Off the record at 1:24 p.m.)
       3                      VIDEOGRAPHER:       1:32.     We are on
       4            the video record.
       5                      MR. PENDELL:       Dr. Wright, if,
       6            after this deposition is over, you
       7            change your mind about any of your
       8            opinions, or you look at or consider
       9            additional documents or information
     10             that you have not already looked at,
     11             regardless of whether or not they
     12             change any of your opinions, I just
     13             ask that you let Ms. Fujimoto know so
     14             that she can take the necessary steps
     15             to let me know.
     16                       But other than, Doctor, I want
     17             to thank you very much for your time.
     18             I know that you're very busy, and I've
     19             enjoyed speaking with you and I
     20             appreciate your time.
     21                       THE WITNESS:       Well, thank you.
     22                       MS. FUJIMOTO:       Thanks so much.
     23             No questions here.
     24                       VIDEOGRAPHER:       Okay.     1:32 p.m.
     25             We are off the video record.

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       1                      This concludes the video
       2            deposition of Dr. Tricia Wright.
       3         (Deposition concluded at 1:32 p.m.)
       4                        – – – – – – –
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       1                           CERTIFICATE
       2
       3               I, CARRIE A. CAMPBELL, Registered
            Diplomate Reporter, Certified Realtime
       4    Reporter and Certified Shorthand Reporter, do
            hereby certify that prior to the commencement
       5    of the examination, Tricia Wright, M.D., was
            duly sworn by me to testify to the truth, the
       6    whole truth and nothing but the truth.
       7               I DO FURTHER CERTIFY that the
            foregoing is a verbatim transcript of the
       8    testimony as taken stenographically by and
            before me at the time, place and on the date
       9    hereinbefore set forth, to the best of my
            ability.
     10
                       I DO FURTHER CERTIFY that I am
     11     neither a relative nor employee nor attorney
            nor counsel of any of the parties to this
     12     action, and that I am neither a relative nor
            employee of such attorney or counsel, and
     13     that I am not financially interested in the
            action.
     14
     15
     16
                    ___________
                    ____________________________
                              ______
     17             CARRIE A. CAMPBELL,
                    NCRA Registered Diplomate Reporter
     18             Certified Realtime Reporter
                    Notary Public
     19
     20
     21
     22
     23             Dated:     September 22, 2020
     24
     25

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       1                   INSTRUCTIONS TO WITNESS
       2

       3                   Please read your deposition over
       4    carefully and make any necessary corrections.
       5    You should state the reason in the
       6    appropriate space on the errata sheet for any
       7    corrections that are made.
       8                   After doing so, please sign the
       9    errata sheet and date it.            You are signing
     10     same subject to the changes you have noted on
     11     the errata sheet, which will be attached to
     12     your deposition.
     13                    It is imperative that you return
     14     the original errata sheet to the deposing
     15     attorney within thirty (30) days of receipt
     16     of the deposition transcript by you.                If you
     17     fail to do so, the deposition transcript may
     18     be deemed to be accurate and may be used in
     19     court.
     20

     21

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       1                ACKNOWLEDGMENT OF DEPONENT
       2
       3
       4                      I,______________________, do
            hereby certify that I have read the foregoing
       5    pages and that the same is a correct
            transcription of the answers given by me to
       6    the questions therein propounded, except for
            the corrections or changes in form or
       7    substance, if any, noted in the attached
            Errata Sheet.
       8
       9
     10
     11
     12     ________________________________________
            Tricia Wright, M.D.                              Date
     13
     14
     15     Subscribed and sworn to before me this
     16     _______ day of _______________, 20 _____.
     17     My commission expires: _______________
     18
     19     Notary Public
     20
     21
     22
     23
     24
     25

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       1                          – – – – – – –
                                       ERRATA
       2                          – – – – – – –
       3     PAGE      LINE    CHANGE/REASON
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       1                          – – – – – – –
                                  LAWYER'S NOTES
       2                          – – – – – – –
       3     PAGE      LINE
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